Case 1:25-cv-00147-CRH Document 1-1

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UNITED STATES DISTRICT COURT
DISTRICT OF NORTH DAKOTA

RICHARD ARJUN KAUL, MD;
JANE DOE; JOHN DOE.

Plaintiff

JAMES PAUL OETKEN

(PERSONAL AND OFFICIAL CAPACITY)

NORTH DAKOTA MEDICAL BOARD;

NEW YORK STATE ATTORNEY GRIEVANCE COMMITTEE
JANE DOE; JOHN DOE.

Defendants.

CIVIL ACTION NO.:

COMPLAINT

NO JURY TRAIL DEMANDED

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K11-28
KAUL v OETKEN
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PARTIES

PLAINTIFF

RICHARD ARJUN KAUL, MD — 440c SOMERSET DRIVE, PEARL RIVER, NY 10965
DRRICHARDKAUL@GMAIL.COM (“PLAINTIFF KAUL”) — 914 250 84313

DEFENDANT

NORTH DAKOTA MEDICAL BOARD — CITY CENTER PLAZA, 418 EAST BROADWAY AVENUE, SUITE
12, BISMARCK, ND 58501-4086 (“DEFENDANT NDMB”)

JAMES PAUL OETKEN, ESQ— ROOM 706, 40 FOLEY SQUARE, NY, NY 10007 (“DEFENDANT
OETKEN”)

NEW YORK STATE ATTORNEY GRIEVANCE COMMITTEE — 50 EAST AVE #404, ROCHESTER, NY
14604 (“DEFENDANT AGC”)
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RELEVANT/REFERENCED CASES OF ‘THE KAUL CASES’

K1: KAUL v CHRISTIE: 16-CV-02364 — CLOSED

KS: KAUL/BASCH v FEDERATION: 19-CV-3050-CLOSED

K11-7: KAUL v. ICE ET AL: 21-CV-6992 — CLOSED

K11-10: KAUL v. ICE ET AL: 23-CV-2016 - CLOSED

K11-14: KAUL v. FEDERATION ET AL: 23-CV-22325 - CLOSED

K11-15: KAUL v. CHRISTIE/MURPHY: 23-CV-22582 - CLOSED

K11-17: KAUL v CPEP: 23-CV-00672 - CLOSED

K11-23: KAUL v OETKEN: 24-CV-00621 — OPEN BUT DEFENDANT OETKEN DISMISSED
K11-27: KAUL v FEDERATION STATE MEDICAL BOARDS: 25-CV-01676 — OPEN

K11-28: KAUL v NORTH DAKOTA MEDICAL BOARD — JURISDICTION BASED ON DEFENDANT
NDMB DOMICILE AND DEFENDANTS ONGOING PATTERN OF RACKETERING WITHIN THE

‘REVOCATION-COVER-UP-CONSPIRACY’ AND ONGOING/”NEW” INJURIES CAUSED TO
PLAINTIFF KAUL IN NORTH DAKOTA.

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JURISDICTION + VENUE

General:
1. 28 U.S.C. § 1331 — Plaintiff's allegations arise pursuant to Section 1983 claims of violations of

Plaintiff Kaul’s Constitutional rights and U.S.C. § 1964(a)(b)(c)(d) and 1962.
U.S.C. § 1337 — Plaintiff's allegations allege violations of an Act of Congress regulating

commerce and monopolies.

Personal:

2. The Court has personal jurisdiction over Defendants Oetken/NDMB/NYS AGC as they had
transacted business, maintained substantial contacts through the Federal Judges Association,
and/or committed acts in furtherance of the illegal scheme and conspiracy throughout the

United States, including in this district.

3. Additionally, the Defendants RICO violations/offenses/crimes have caused and continue to
cause injury to Plaintiff Kaul’s life/liberty/property in every state in the United States including
the State of North Dakota.

4. Defendants scheme and conspiracy have been directed at and have had the intended effect
of causing injury to persons residing in, located in, or doing business throughout the United
States including the Southern District of Dakota. This Court also has personal jurisdiction over
all Defendants pursuant to Fed. R. Civ. P. 4(k)(1)(A) because they would be subject to a court of

general jurisdiction in Dakota.

5. More specifically, Defendant Oetken has violated and continues to violate the principles and

holdings set forth by the U.S.C.A for the Fifth Circuit (May 18, 2022) and SCOTUS (June 27,

2024) in SEC v Jarkesy: 22-859

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Venue:

6. 28 U.S.C. § 1391(b)(1) — A civil action may be brought in (1) a judicial district in which any
defendant resides, if all defendants are residents of the State in which the district is located and

(2) a judicial district in which a substantial part of the events or omissions giving rise to the

claim occurred, or a substantial part of property that is the subject of the action is situated.

7. Defendant Oetken’s K11-7 September 12, 2022 purported ‘injunction’ (See hyperlink:
https://www.drrichardkaul.com/_files/ugd/7d05d1 1f1f9cebc0134fe5835a33640aa2ed67.pd

f) and his K11-20 October 2, 2024, threat to hold Plaintiff Kaul in contempt if by October 16,
2024, Plaintiff Kaul does not dismiss K11-20, AND the K11-20 Defendants filing on October 3,
2024 of Defendant Oetken’s October 2, 2024 threatening ‘ORDER’ (See hyperlink:
https://www.drrichardkaul.com/_files/ugd/7d05d1_6328d6d06c8f46d9a7aaec22370b981b.p

df) do constitute a substantial and ongoing injury and violation of Plaintiff Kaul’s
human/civil/constitutional right to vindicate and or secure his right to his
life/liberty/property/reputation WITHIN the jurisdiction of the U.S.C.A. for the 5* Circuit that
confers on Plaintiff Kaul the right to sue Defendants Oetken/NDMB/NYS AGC in this district.

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INTRODUCTORY CONTEXT TO K11-28

FACTS OF THE KAUL CASES DEFENDANTS’, INLUDING DEFENDANTS JAMES PAUL
OETKEN/NEW YORK STATE ATTORNEY GRIEVANCE COMMITTEE,
OFFENSES/VIOLATIONS/CRIMES
+

ORDERS IN FAVOR OF PLAINTIFF KAUL ISSUED BY DISTRICT COURT JUDGES

7-1. The offenses/violations/crimes of The Kaul Cases Defendants commenced in
approximately March 2005, shortly after Plaintiff Kaul invented and successfully performed the
first outpatient percutaneous/minimally invasive spinal fusion, a procedure that revolutionized
the field of spine surgery, became the standard of care approximately ten (10) years ago and
substantially improved good to very good outcomes (prior to 2005-65-70%, post 2005 90-95%)
and substantially reduced complication rates (prior to 2005-5-15%, post 2005-0.1%). This
procedure immensely benefitted millions of patients who required surgical intervention for

unremitting and disabling spinal degeneration related back/leg pain.

7-2. Plaintiff Kaul’s invention brought him professional success, a success however that caused
professional jealousy amongst his competitors in the minimally invasive spine market
(neurosurgeons/interventional pain physicians/orthopedic spine surgeons/insurance
companies/hospital corporations), a jealousy and illegal market antitrust protectionism that
caused these entities to commit and continue to commit against Plaintiff Kaul’s
life/liberty/property/reputation the offenses/violations/crimes of amongst other things judicial
bribery/public corruption/evidential tampering/witness tampering/perjury/obstruction of
justice/false indictment/false arrest/false imprisonment and attempted killing. This “pattern of
racketeering” and violations of Plaintiff Kaul’s human/civil/constitutional rights commenced in

2005 and are ongoing with new injuries in 2025.

7-3. In the period from February 22, 2016 to the present, the Defendants have with impunity
violated multiple district court orders as to discovery/trial, an impunity derived from their

bribing/intimidation/harassment of certain district judges, the most public being that of
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Defendant Oetken. And as a consequence of The Kaul Cases Defendants violation of the

authority/jurisdiction of the district courts, they have thus far been able to illegally
escape/evade the process of justice and more specifically the truth exposing effect of
discovery/trial. In the over nine (9) years of the prosecution of The Kaul Cases by Plaintiff Kaul,
The Kaul Cases Defendants have not provided one piece of court ordered discovery, but have
employed schemes of requests for time extension/stays/dismissals/bribing-harassment-
intimidation of certain district judges, all purposed to further their escaping/evasion of

prosecutions they know will further prove their guilt of the charges levied in The Kaul Cases.

7-4. Plaintiff Kaul respectfully asserts that the substantiation/proof of the above facts and

patterns of offenses/violations/crimes is found in the documentation of The Kaul Cases, that

are chronologically organized as below:

FACTS OF THE KAUL CASES DEFENDANTS’, INLUDING DEFENDANTS JAMES PAUL
OETKEN/NEW YORK STATE ATTORNEY GRIEVANCE COMMITTEE,
OFFENSES/VIOLATIONS/CRIMES + ORDERS IN FAVOR OF PLAINTIFF KAUL ISSUED BY DISTRICT
COURT JUDGES.

DECEMBER 16, 2020 — KS — ORDER FOR SCHEDULING CONFERENCE:

7-5. The K5 Defendants, who are Defendant Oetken’s co-conspirators, violated the order, failed
to appear for the January 26, 2021 Rule 16 conference and their Rule 8(b)(6) failure to deny the
facts/allegations did cause them to become admitted. The admittance of these facts in

conjunction with the K5/K11-7 Defendants bribery of Defendant Oetken did/do render null and

void his September 12, 2022 purported ‘dismissal opinion-injunction’. The law does not permit

the issuance of nationwide injunctions nor dismissing of jurisdictionally sound cases when the

facts substantiating the claims have been admitted.

httos://www.drrichardkaul.com/_files/ugd/7d05d1 a1f8250142fc44cabc823680f07187e8.pdf

JULY 7, 2021 —K5 — RULE 41(a)(1)(A)(B) DISMISSAL OF KS:

7-6. From the October 1, 2019 filing of K5 in the District of Columbia to the December 16, 2020
transfer to the District of New Jersey through to the July 7, 2021 Rule A1(a)(1)(A)(B) voluntary

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dismissal of K5, there was ordered no discovery schedule and thus there was no discovery. A
case that sat on the federal docket for twenty-two (22) months without any discovery order or

discovery being conducted.

https://www.drrichardkaul.com/ files/ugd/7d05d1_52e5abfbc6804e028daca83a51008127.pdf

SEPTEMBER 12, 2022 —- K11-7 — OPINION AND ORDER OF DEFENDANT OETKEN IN K11-7:

7-7. Defendant Oetken did enter a bribery related quid pro quo scheme dismissal with
prejudice and nationwide injunction, in which he failed to address any of Plaintiff Kaul’s
arguments and differentiation of every case cited by the K11-7 Defendants, a differentiation
that they too failed to conduct. The purported order/opinion/’injunction’ were evidently and
admittedly a product of crime, that were a highly prejudicial order/opinion/‘injunction’ that had
absolutely no factual/legal relation to the facts/law/arguments submitted, and were ‘soaked’ in
a particularly malicious form of slander/defamation/derogatoriness. The tone was unbecoming
of a federal judge, lacked any sense of professionalism and moreover was a reflection of the

likely millions of dollars in bribes demanded/received by Defendant Oetken.

7-8. One of the principal factors accounting for the admitted offenses/violations/crimes of
Defendant Oetken and his K11-27 co-conspirators and their attempt to have Plaintiff Kaul
eliminated on June 17, 2025 pertains to the pending SCOTUS Trump related cases opinion as to
the illegality of district judge issued nationwide injunctions. Defendant Oetken and his co-
conspirators realize that a ruling for President Trump will nullify Defendant Oetken’s September
12, 2022 purported ‘injunction’ leaving the K11-27 Defendants defenseless and subject to
Summary Judgment and discovery. A discovery that will cause a further emergence of evidence

of their twenty (20) years-worth of offenses/violations/crimes.

httos://www.drrichardkaul.com/_files/ugd/7d05d1 1f1f9cebc0134fe5835a33640aa2ed67. pdf
SEPTEMBER 14, 2022 — K11-7 — REQUEST FROM PLAINTIFFS KAUL/BASCH TO DEFENDANT
OETKEN TO DISCLOSE HIS FINANCIAL HOLDINGS AND EXPARTE COMMUNICATIONS:

7-9. The obvious illegality of Defendant Oetken’s September 12, 2022 purported

‘opinion/order/injunction’ caused Plaintiff Kaul to request Defendant Oetken’s financial

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holdings and exparte communications. To date, in fact for the last thirty-four (34) months
Defendant Oetken has provided none of the requested information and thus for this reason
alone , he remains conflicted and without authority or jurisdiction to conduct any proceeding
pertaining to Plaintiff Kaul for any reason. And the reason that he was forced to schedule the
June17, 2025 purported ‘contempt’ proceeding was that no other judge in the S.D.N.Y. would
adjudicate the knowingly illegal matter and Defendant Oetken was placed ‘under the gun’ by
the K11-27 Defendants, who threatened him with exposure of career-ending

personal/professional facts and or further bribed him into conducting a knowingly illegal

proceeding. Defendant Oetken entered the order on May 8, 2025 while still a defendant in K11-
23.

7-10. And evidencing the extent of the ‘Revocation-Cover-Up-Conspiracy’ (2005-2025), he was

dismissed from K11-23 at approximately 6 pm EST on June 12, 2025, six (6) hours after Plaintiff
Kaul filed a series of highly incriminating documents in the S.D.N.Y., documents that have yet to
be published to the court docket. Defendant Oetken and his co-conspirators docket document
diversion scheme is purposed to attempt to restrict the publishing to the docket of highly
incriminating material that would be reviewed by the United States Court of Appeals for the
Federal Circuit, should Defendant Oetken enter a purported ‘contempt’ order. It is a sad thing
to know that the criminals in the “Revocation-Cover-Up-Conspiracy’ include a federal judge
and an ex-NJ governor, the very people that are empowered and duty bound to protect
citizens’ human/civil/constitutional rights. People that abuse the power of public office in the
same way insurance companies steal money from the people. Both conduct their crimes under
a disguise rendering cloak of authority/respectability. It is racketeering in its purest sense, the
commandeering of state power for the commission of crime against the very people they are
sworn to protect. It is in many ways no different to the abusing of children by their parents.

Heinous, vile and deserving of the severest punishment.

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OCTOBER 6, 2022 —K11-7 — MOTION FOR DISQUALIFICATION OF DEFENDANT OETKEN:

7-11. Plaintiffs Kaul/Basch in confirming Defendant Oetken’s guilt of using the power of the
federal bench to perpetrate an admitted bribery related quid pro quo scheme did file a motion
for Defendant Oetken’s disqualification. Set forth within the motion were facts underpinning all
elements of his crimes. Defendant Oetken did not address this motion until August 14, 2023,
and as evident from the order, as seen below, he failed to deny any of the facts of his crimes, a
denial that caused their admission. The reason for Defendant Oetken’s belated denial pertained
to the fact that the district judge in K11-14, under duress/harassment, would not dismiss K11-
14 unless he addressed the disqualification motion, and thus he was forced to do so, but did so
in a manner that caused the admittance of the facts of his crimes and those of the K11-7/K11-

27 Defendants.

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AUGUST 18, 2023 —K11-14 — THE K11-14 DEFENDANTS JOINT MOTION TO VACATE AND STAY
CASE MANAGEMENT DEADLINES:

7-12. Defendant Oetken’s criminally procured K11-7 ‘injunction’ began its violations of Plaintiff
Kaul’s human/civil/constitutional rights outside the jurisdiction of the S.D.N.Y. in K11-14 as the
basis for the K11-14 Defendants’ motions to stay any discovery and or dismiss the case, so
terrified were they that Plaintiff Kaul’s discovery would expose highly incriminating evidence of
their offenses/violations/crimes not just against Plaintiff Kaul but many other physicians
victimized by the insurance/hospital industries. And for Defendant Oetken his eleven (11) year
history of having abused the power of the federal bench in the perpetration of his bribery

related quid pro quo schemes.

httos://www.drrichardkaul.com/_files/ugd/7d05d1 c6ad7276234d4ee4b7c06817f01a16c7.pdf

AUGUST 21, 2023 — K11-14 — LETTER FROM PLAINTIFF KAUL TO U.S.M.J. OTAZO-REYES
REGARDING A REQUEST FIOR A CASE MANAGEMENT CONFERENCE:

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7-13. Plaintiff Kaul sought the court’s interjection in the K11-14 Defendants failure to comply
with the July 6, 2023 (K11-14: D.E. 7) ‘ORDER REQUIRING SCHEDULING REPORT AND
CERTIFICATE OF INTERESTED PARTIES’ that was ordered to be submitted on August 24, 2023.
The K11-14 Defendants, aware of the illegality of the purported ‘injunction’, did refuse to
confer with Plaintiff Kaul/Basch in the drafting of a scheduling report. The refusal constituted
further evidence of the ongoing “pattern of racketeering” within the United States District
Court and their ongoing violation of Plaintiff Kaul’s human/civil/constitutional rights, in order to

prevent Plaintiff Kaul from further exposing their indictable offenses/violations/crimes.

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AUGUST 21, 2023 — Ki1-14 — LETTER FROM PLAINTIFF KAUL TO U.S.D.J. BETH BLOOM
REGARDING THE K11-14 DEFENDANT’S CORRUPTION OF THE COURT:

7-14. The K11-14 Defendants, as has been one of their discovery/trial tactics since 2016 (K1),
filed motions to stay the district court’s July 6, 2023 (K11-14: D.E. 7) ‘ORDER REQUIRING
SCHEDULING REPORT AND CERTIFICATE OF INTERESTED PARTIES’ based on Defendant Oetken’s
illegal and purported nationwide ‘injunction’, and on August 18, 2023, U.S.DJ. Bloom stayed
her prior scheduling order. In response Plaintiff Kaul submitted a letter regarding the K11-14
Defendants long history of corrupting/harassing district court judges into improperly dismissing
the cases. Cases in which a substantial part of the factual foundation had been admitted by The
Kaul Cases Defendants admissions of fact pursuant to their Rule 8(b)(6) failure to deny any of

the allegations/facts in any of the prior cases. Defendant Oetken’s purported ‘injunction’,

although illegal for the above stated reasons (bribery/’Fraud on the Court’) could not and did

not nullify the prior Rule 8(b)(6) admissions and thus could not prohibit Plaintiff Kaul’s

utilization of these admitted facts in future cases. This point of fact-law on its own does render

illegal Defendant Oetken’s proposed ‘purported ‘contempt’ hearing on June 17, 2025 in which

he has been forced to adjudicate the matter because no other district judge will adopt the case.

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AUGUST 23, 2023 — K11-14 — D.E. 38 - DEFENDANT DANIEL STOLZ’S MOTION TO DISMISS
PLAINTIFFS’ AMENDED COMPLAINT WITH PREJUDICE AND INCORPORATED MEMORANDUM OF
LAW:

7-15. K11-14 Defendant Stolz’s motion was based on the illegal September 12, 2022 purported
‘injunction’ of Defendant Oetken and failed, quite expectedly, to submit that The Kaul Cases
Defendant Stolz had admitted to the allegations/facts of every prior case in which he had been
sued, consequent to his Rule 8(b)(6) failure to deny any of the allegations/facts in any of the
prior cases. It was imperative for Defendant Stolz, as with all of The Kaul Cases Defendants, to
ensure the perpetration of the illegal ‘injunction’ in order to prevent Plaintiff Kaul from
exposing his crimes, the crimes of Defendant Oetken and those of The Kaul Cases Defendants.
However, on October 25, 2024 in K11-20, Defendant Stolz did officially commit to the record his
guilt of the allegations/facts levied in ail of the prior cases (K11-20: D.E. 16), and his admittance
of the nullification of Defendant Oetken’s purported ‘injunction’ (K11-20: D.E. 16 Page 19 Of 21)

https://www.drrichardkaul.com/_files/ugd/7d05d1_30a4503be11a4f2bb5debG6ea6eaf502a. pdf

AUGUST 23, 2023 —K11-14 — ORDER ON MOTION TO DISMISS

7-16. The case was dismissed based entirely on Defendant Oetken’s illegally procured
purported ‘injunction’, an injunction that was prohibited based on the fact that the majority of
the underlying facts had been admitted by the K11-7 Defendants consequent to their
failure/refusal to deny any of the allegations/facts set forth in the prior cases of The Kaul Cases.
In not one of these cases had the Defendants complied with discovery/trial orders, and in not
one of the cases had Plaintiff Kaul’s rights been vindicated through discovery and or trial. That
lack of vindication and violation of his life/liberty/property/reputation and
human/civil/constitutional rights has continued since April 2, 2012 (date of NJ license
suspension) and continues to be increasingly perpetrated in June 2025 by Defendant Oetken’s
proposed June 17, 2025 ‘contempt’ hearing. A hearing purposed to attempt to conceal his and
The Kaul Cases Defendants indictable offenses/violations/crimes. There exists an ongoing and
knowing thirteen-year-plus long injustice in which every fundamental human right of Plaintiff

Kaul has been and continues to be violated such that it constitutes a crime against humanity.

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The Kii-14 Defendants corruption, harassment and or intimidation of U.S.D.J. Bloom were

consistent with every prior act of discovery/trial evasion, as they were with Defendant Oetken.

https://www.drrichardkaul.com/_files/ugd/7d05d1_ Ob00c6e13bc0435f92799134b8091be5. pdf

AUGUST 23, 2023 — K11-14 — D.E, 40 — LETTER FROM PLAINTIFFS KAUL/BASCH TO U.S.D.J. BETH
BLOOM:

7-17. Defendant Oetken’s ‘Fraud on the Court’ of the purported ‘injunction’ was further
perpetrated through the federal docket of the United States District Court by U.S.D.J. Beth
Bloom’s August 23, 2023 order of dismissal, and did pursuant to the doctrine cause the

inculcation of liability and incorporation into the ‘Revocation-Cover-Up-Conspiracy’. This is an

almost perfect example of the sageness of the Supreme Court of the United States opinion in

Hazel-Atlas Glass Co. v Hartford-Empire Co., 322 U.S. 238 (1944), in which the Court stated:

“Every element of the fraud here disclosed demands the exercise of the historic power of
equity to set aside fraudulently begotten judgments. This is not simply a case of a judgment
obtained with the aid of a witness who, on the basis of after-discovered evidence, is believed
possibly to have been guilty of perjury. Here, even if we consider nothing but Hartford's

sworn admissions, we find a deliberately planned and carefully executed scheme to defraud

not only the Patent Office, but the Circuit Court of Appeals.”

7-18. The ‘nobody is above the law’ aphorism applies to every person in the United States,
regardless of office and economic/political affiliations. 1944 was the last but one year of the 2"4
WW and America was involved in a war to suppress the lawlessness of fascism and its then
culture prefaced the noble ideals of the U.N.C.H.R. The misconduct of an individual such as
Defendant Oetken would absolutely not have been tolerated at that time, and unfortunately
for him the Hazel-Atlas case law remains unassailed in 2025 and as equally if not more
applicable to him, a public servant , than to the original Hazel-Atlas defendant. U.S.D.J. Bloom
knew this fact and the fact that she should have “set aside the fraudulently begotten

judgment”, but she did not, thus perpetuating the offenses/violations/crimes of the

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‘Revocation-Cover-Up-Conspiracy’. Had U.S.D.J. Bloom taken such action, it is likely The Kaul

Cases would have concluded as there would have been no need for Plaintiff Kaul to continue

their prosecution.

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NOVEMBER 20, 2023 — K11-17 — D.E. 1 — COMPLAINT IN K11-17:

7-19. Plaintiff Kaul, as he has done throughout The Kaul Cases subsequent to Defendant
Oetken’s September 12, 2022 purported ‘injunction’, did within the initiating Complaints inform
the district courts of the purported ‘injunction’, as he did in K11-17 (D.E. 1 Page 17 to 25 of
132). Thus, the Chief Judge in K11-17 knew at case commencement of the purported
‘injunction’ and with this knowledge did cause the issuance of summonses and the March 13,
2024 entry of an ‘ORDER FOR DISCOVERY PLAN’. However, the entry of this order caused the
K11-17/K11-27 Defendants and Defendant Oetken to further perpetuate the illegal September
12, 2022 purported ‘injunction’ within the ‘Revocation-Cover-Up-Conspiracy’ (2005-2025) and

through the United States District Court. The Chief Judge in K11-17 knew of his obligation under
Hazel-Atlas to “set aside” the fraudulent September 12, 2022 purported ‘injunction’ of
Defendant Oetken, but he did not.

https://www.drrichardkaul.com/_files/ugd/7d05d1_cd6056cc431b4d5dbb155dbf41bff10a.pdf

DECEMBER 4, 2023 — K11-15 — D.E. 50-4 — ADMISSIONS OF FACT OF K11-15 DEFENDANT
KENNETH MURPHY:

7-20, Defendant Kenneth Murphy, a Morristown, NJ policeman, was caused to become

incorporated into the ‘Revocation-Cover-Up-Conspiracy’ on June 14, 2023 with his Defendant

Christie ordered illegal arrest and imprisonment of Plaintiff Kaul. Defendant Murphy knew this
fact. Plaintiff Kaul filed suit against Defendant Murphy on June 27, 2023 in the District of New
Jersey. On July 7, 2023 Plaintiff Kaul judicially noticed U.S.D.J. Bloom of the Complaint and on
July 31, 2023 she sua ponte placed the case on her docket, issued summonses on July 31, 2023

and an ‘ORDER REQUIRING SCHEDULING REPORT AND CERTIFICATIONS OF INTERESTED

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PARTIES’ on August 1, 2023 (K11-15: D.E. 7). However, and consequent to the perpetuation of
the ‘Revocation-Cover-Up-Conspiracy’, U.S.D.J. Bloom did after issuing a ‘ORDER SETTING
TRIAL AND PRE-TRIAL SCHEDULE REQUIRING MEDIATION, AND REFERRING CERTAIN MATTERS

TO MAGISTRATE JUDGE’ (K11-15: D.E. 56) on February 2, 2024, did on February 16, 2025
dismiss the case based in large part of Defendant Oetken’s September 12, 2022 purported

‘injunction’. Thus, further causing a perpetuation of the ‘Revocation-Cover-Up-Conspiracy’ and

illegal violation of Plaintiff Kaul’s life/liperty/property/reputation and
human/civil/constitutional rights (April 2, 2012-NJ license suspension-February 16, 2024: 4,337
days).

7-21. The average prison sentence in New Jersey for armed robbery is ten (10) years, but a
prisoner has a free place to sleep, to eat, to receive medical care and to know the sentence will
be concluded. However, on June 15, 2025 (4,822 days), Plaintiff Kaul, a successful surgeon who
in 2005 invented a humanity helping spinal procedure remains indefinitely imprisoned

consequent to the corruption of the political-legal system by The Kaul Cases Defendants. The

message appears to be that in medicine if you are an immigrant and through hard work,
commitment, discipline and innovation become more successful than the locals, you will be
targeted. A country’s strength becomes stymied when such suppression is permitted to occur.
Defendant Oetken, a democratically appointed judge had an opportunity to contribute towards

making “... American Great Again” but he, as with The Kaul Cases Defendants chose,

consequent to their unbridled greed/selfishness/sense of privilege to not do that but instead to

have, amongst other offenses/violations/crimes, Plaintiff Kaul kidnapped and wrongly jailed.

httos://www.drrichardkaul.com/_files/ugd/7d0S5d1. 87d94d180def4460a09fd7c1fd73072f.pdf

FEBRUARY 2, 2024 — K11-15 — D.E. 56 — ORDER SETTING TRIAL AND PRE-TRIAL SCH EDULE
REQUIRING MEDIATION, AND REFERRING CERTAIN MATTERS TO MAGISTRATE JUDGE’:

7-22. None of the K11-15 Defendants complied with the order and refused to confer with
Plaintiff Kaul, the reason being their fear of having their nineteen years-worth of

offenses/violations/crimes and those of Defendant Oetken and rest of The Kaul Cases

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Defendants exposed by Plaintiff Kaul. Such exposure would and will result in both civil/criminal
consequences for The Kaul Cases Defendants, which is why Defendant Oetken is now abusing
the power of the federal bench to attempt to have Plaintiff Kaul illegally eliminated (jail/death).
This is the definition of abuse of power, but a course of conduct in which Defendant Oetken has
perpetrated by abusing the power of the federal bench to satisfy his seemingly insatiable greed
and self-aggrandizement. Defendant Oetken has obviously forgotten he is a public servant
whose salary was paid in part from the millions of tax dollars paid by Plaintiff Kaul throughout
his career. Plaintiff Kaul paid his taxes with the understanding that they would not be used to
facilitate the careers of professional criminals like Defendant Oetken and K11-27 Defendants
Christie-ex NJ governor/Solomon- ex NJ administrative judge. That K11-27 Defendant Christie
was an ex-US Attorney for NJ does render even more criminal his offenses/violations/crimes

within the ‘Revocation-Cover-Up-Conspiracy’.

7-23. The June 14, 2025 seven and a half years jailing of former Illinois speaker/state legislative
leader, Michael Madigan, by Judge John Robert Blakey of the Northern District of Illinois, the
son of Professor Robert Blakey, the author of the RICO statute, on conviction of racketeering,
bribery/conspiracy/fraud/political corruption, evidences a long-overdue ‘turning of the tide’
against public corruption. Illinois was the district in which ex-Illinois governor, Rod R.
Blagojevich was sentenced to fourteen (14) years in prison. The Madigan case was brought by
the Department of Justice, the same entity that represented Defendant Oetken in K11-23. The
DOJ should be prosecuting criminals, even if they are judges (See Hannah Dugan), and most

certainly not defending them.

https://www.youtube.com/watch ?v=svFXVKU-4yk

7-24, Judge Reeves, pursuant to his obligations under section 1986 of the Ku Klux Klan Act of

1871, ought to have referred Defendant Oetken to the DOJ, instead of dismissing him on June
12, 2025, in an opinion that effectively categorized bribery as a normal judicial act within the
normal judicial capacity of a district judge. It is quite the opinion in light of his prior opinions

where he denied qualified immunity to ‘state actor’ defendants for the commission of crimes

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and constitutional violations. A category in which Defendant Oetken exists, as absolute

immunity confers no protection on his offenses/violation/crimes as admitted in K11-23.

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FEBRUARY 16, 2024 — K11-15 — D.E. 58 - ORDER ON DEFENDANTS MOTION TO DISMSS:

7-25. U.S.D.J. Bloom’s dismissal opinion was based in large part on Defendant Oetken’s
September 12, 2022 purported ‘injunction’ even though Defendant Murphy was not part of the
K11-7 case. What this extension of the applicability of the ‘injunction’ proved was that

Defendant Oetken in collusion/conspiracy with The Kaul Cases Defendants would use the

‘injunction’ to attempt to bar Plaintiff Kaul from ever filing any case in the United States District

Court against any of The Kaul Cases Defendants to remediate the offenses/violations/crimes

committed and being committed against his life/liberty/property and
human/civil/constitutional rights. Defendant Oetken’s ‘injunction’ was an attempt to impose an
effective death sentence on Plaintiff Kaul for having the temerity to invent a procedure that
helped humanity. There exists a psycho-pathology so extreme in this scheme that it fits the
DSM classification of Antisocial Personality Disorder (ASPD). This condition involves a
pervasive pattern of disregard for and violation of the rights of others. This pattern can
manifest as aggression, deceitfulness, impulsivity, and a lack of remorse, all of which might be

connected to behaviors perceived as cruel.

7-26. Had U.S.D.J. Bloom not dismissed K11-15, there would have been substantial progress

towards the conclusion of The Kaul Cases, but she did and so in conjunction with The Kaul

Cases Defendants and Defendant Oetken U.S.D.J. Bloom did contribute towards their

perpetuation into K11-27 and K11-28.

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FEBRUARY 20, 2024 — K11-15 — D.E, 59 — LETTER FROM PLAINTIFF KAUL TO U.S.D.J, BLOOM:

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7-27. Plaintiff Kaul submitted a letter seeking to know what person and what threats/promises
had been made by The Kaul Cases Defendants to U.S.D.J. Bloom in the interim period between
February 2 and 16, 2024, that caused her to schedule the case for trial/mediation to then
dismissing it with prejudice. U.S.D.J. Bloom published no response to the docket. Accountability
by certain public servant district judges appears to be absent, but these same individuals
demand accountability in non-public servant private persons they are about to sentence to jail.
The scourge of corruption has eroded the once immense edifice of trust the public had in the
organs of state, an erosion for which Defendant Oetken has no hesitation in furthering. It
cannot be the case that the judiciary, an arm of the law, cannot police its members to the same

extent it polices the public,

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MARCH 13, 2024 — K11-17 — D.E. 65 -ORDER FOR DISCOVERY PLAN:

7-28. Chief Judge Myers, after having reviewed the sixty-four (64) prior docket entries including
the Complaint, motions to dismiss/stay/admissions of fact and Defendant Oetken’s September
12, 2022 purported ‘injunction’ did on March 13, 2024 enter an ‘ORDER FOR DISCOVERY
SCHEDULE’.

https://www.drrichardkaul.com/ files/ugd/7d05d1_5252b4bcfa4a4d5eb05d422034457549.pdf

MARCH 15, 2024 — K11-7 — D.E. 173 — ORDER:

7-29. The K11-17 Defendants, who were the K11-7/K11-14 Defendants, did then conspire with
Defendant Oetken to attempt to cause Plaintiff Kaul to dismiss K11-17 under threat of
contempt, despite knowing that Chief Judge Myers under the independent
authority/jurisdiction of his court and in full knowledge of the purported ‘injunction’ did admit
the case and enter an ‘ORDER FOR DISCOVERY SCHEDULE’. Defendant Oetken’s violation of the
authority/jurisdiction of other independent district courts not even in his circuit, was further

evidence of his and The Kaul Cases Defendants ongoing scheme to attempt to prevent Plaintiff

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Kaul from further exposing his offenses/violations/crimes perpetrated against Plaintiff Kaul’s
life/liberty/property/reputation. The principal purpose of any system of justice, wherever it
may be in the world and whenever it may have existed, is to find the truth. Defendant Oetken
purports to be a district judge in the United States District Court, but that disguise conceals the
truth of his criminal “patterns of racketeering”, where permitting the truth to be found does
undermine his self-enriching commission of quid pro quo schemes. For first of all why would he
not have entered a discovery order in K11-7 and then more probative of his guilt is the fact that
he obstructed Plaintiff Kaul’s due process rights in other independent district courts that
admitted The Kaul Cases in full knowledge of the purported ‘injunction’. These are the acts of a
‘state actor’ criminal. These facts are consistent with the fact he entered the ‘Revocation-

Cover-Up-Conspiracy’ in or around August 19, 2021 (filing date of K11-7) and it then became a

matter of life or death for his judicial career to attempt to have Plaintiff Kaul eliminated
(jail/death). There can be no doubt that he received millions of dollars in bribes (off-shore
money/shares/Manhattan rent) to cause him to gamble with his judicial career and all the
lifetime benefits it ensures. This speaks to the impulsivity and lack of remorse of the above

referenced Antisocial- Personality-Disorder (ASPD).

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MARCH 28, 2024 — K11-17 — D.E. 79 — DEFENDANT ROBERT F. HEARY, M.D.’s MOTION TO STAY
DEADLINE TO RESPOND TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT, PENDING RULING
ON THE MOTION TO DISMISS, OR IN THE ALTERNATIVE, TO STRIKE FOR FAILURE TO FILE A
PROPER STATEMENT OF UNDISPUTED FACTS:

7-30. Defendant Heary, one of the principal originators of the ‘Revocation-Cover-Up-

Conspiracy’, an individual who concealed The Kaul Cases litigation from the American

Association of Neurological Surgeons in his application to become its 2019 vice-president and
who had previously perpetrated such schemes of public corruption against his other market
competitors, did seek to prevent Plaintiff Kaul from conducting discovery upon his person, his
businesses and his co-conspirators. Defendant Heary’s motions were based on Defendant
Oetken’s September 12, 2022 purported ‘injunction’ in K11-7. Defendant Heary is the person

who encouraged Plaintiff Kaul’s patients to file complaints with The Kaul Cases Defendant, New

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Jersey Board of Medical Examiners and who conspired with other physicians/politicians/media
and continues to conspire to destroy Plaintiff Kaul’s life/liberty/property/reputation, by evading
discovery and causing every state medical board to deny Plaintiff Kaul’s application for
licensure. And all because Plaintiff Kaul invented in 2005 a procedure that has helped and
continue to help millions of pain ridden/disabled patients, a procedure, the professional
success of which Defendant Heary perceived as a threat to his insatiable greed. Defendant
Heary, while working as the Chief of Neurosurgery at the state-run University Hospital in
Newark, NJ did receive a salary of $3.1 million in addition to the $6-7 million he made from his
private practice. Defendant Heary was dismissed from that position at some time after 2016
consequent to his being sued in K1 (Ki filed February 22, 2016) and now has a 100% private
practice, charging $1 million for one surgery, and performing at least two hundred and fifty
(250) surgeries a year. Discovery would establish the exact amounts and what percentage of
that stemmed/stems from his long history of racketeering. Defendant Heary, as with Defendant
Oetken are purported professionals whose gangsterism is concealed from the public by their

deceptive cloaks of judicial and medical authority.

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APRIL 1, 2024 — K11-17 — D.E. 82 — ORDER TO JUNE 3, 2025 — K11-7 - D.E. 193 — NOTICE AS TO
PETITION TO THE SUPREME COURT OF THE UNITED STATES FOR WRIT OF PROHIBITION TO THE
UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK:

7-31. The below hyperlinks connect to documents from The Kaul Cases that constitute further
proof of the offenses/violations/crimes committed by The Kaul Cases Defendants, including
Defendant Oetken, in the period from April 1, 2024 to June 3, 2025. They also evidence the
schemes of judicial harassment/intimidation, violations of court orders and evasion of discovery
and or trial. And they evidence the K11-17/K11-19/K11-20/K11-24/K11-27 Defendants sole
reliance on Defendant Oetken’s purported ‘injunction’ to prevent Plaintiff Kaul for exacting

discovery/trial upon them.

7-32. There is however a Rule 16 conference scheduled for July 9, 2025 in K11-27, about which

the K11-27 Defendants have refused and continue to refuse to confer with Plaintiff Kaul, in the

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belief that on June 17, 2025 Defendant Oetken will incarcerate his person, albeit an illegal

scheme. Defendant Oetken’s June 12, 2025 dismissal from K11-23 was purposed to address his

conflict of interest, but his bias/impartiality had been conclusively proven in his K11-23 January

6, 2025 admissions of the facts of amongst other things, bribery and public corruption as to the

illegal ‘inunction’. The fact admission documents of fifteen (15) of The Kaul Cases Defendants

are included in this section.

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PRELIMINARY STATEMENT + BASIS FOR SUIT AGAINST DEFENDANTS

OETKEN/NDMB/NYS AGC

8. In 2005, Plaintiff Kaul invented and successfully performed the first outpatient minimally
invasive spinal fusion, a case/technique that revolutionized the field of spine surgery and has

been for many years the standard of care.

9. This event and the consequent success caused Plaintiff Kaul’s physician/hospitals/insurance
competitors in the minimally invasive spine surgery market to view him, his outpatient surgical
center, his technique, and his technique invention as a threat to their market share, and not
being able to compete fairly/legally, did resort to committing judicial corruption/political
corruption/public corruption/

bribery/perjury/evidential falsification/witness tampering/obstruction of justice/kickbacks/wire
fraud/mail fraud/false indictments/false arrests/false imprisonment/kidnapping/attempted

drugging-killing.

10. These events occurred over a time period from 2005 to 2023, in conjunction with
ongoing/accruing and daily recurring and “new” violations of Plaintiff Kaul’s
human/civil/constitutional rights. In causing the 2012/2014 illegal suspension/revocation of
Plaintiff Kaul’s NJ license, The Kaul Cases Defendants committed a theft of Plaintiff Kaul’s
intellectual property, from which have been generated/continue to be generated hundreds of

millions, if not billions of dollars.

11. The above facts, in conjunction with those contained within the factual corpus of The Kaul
Cases substantiate ongoing violations to a criminal standard of Plaintiff Kaul’s fundamental
right to life/liberty/property, his right to his hard-earned reputation and specifically, violations

of his human/civil/constitutional rights.

12. The District of North Dakota has jurisdiction over all Defendants for reasons more fully

enunciated below, but in summary, all Defendants, including The Kaul Cases Defendants have

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violated, caused to violate and or aided and abetted the ongoing violation of Plaintiff Kaul’s
human/civil/constitutional rights in every state in the United States including the State of

Dakota.

13. The factual foundation of K11-23 consists of fact admitted in The Kaul Cases (2016-2024)

pursuant to Rule 8(b)(6) and includes amongst other things, bribery/perjury/kidnapping/false
indictment/false arrest/false imprisonment/wire fraud/public corruption/judicial

corruption/witness tampering/evidence tampering/obstruction of justice.

14. On September 12, 2022, in K11-7 Defendant Oetken, after having entered into an admitted
bribery related quid pro quo scheme (See hyperlinks:
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AND
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pdf) with the Ki1-7 Defendants, did enter a purported nationwide ‘injunction’ that sought to
prevent Plaintiff Kaul from seeking redress for the illegal 2014 revocation of his NJ medical

license, more facts of which are detailed below.

15. From February 22, 2016 (K1) to the present (K11-20), Plaintiff Kaul’s efforts to prosecute his
claims have been obstructed by the Defendants violation of discovery orders and schemes of

judicial corruption in courts located principally in the NY/NJ area.

Defendant Oetken sits on the bench in the S.D.N.Y,

16. However, from June 2023 judges in the Southern District of Florida, the Eastern District of
North Carolina and now the Southern District of Texas did progressively advance The Kaul

Cases in full knowledge of all the circumstances/events/facts surrounding Defendant Oetken’s

knowingly illegal September 12, 2022, purported ‘injunction’.

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17. In fact, and after the 5** Circuit/SCOTUS rulings in Jarkesy, U.S.D.J. Alfred H. Bennet did on

August 30, 2024, enter a Rule 26 order which Defendants have violated and continue to violate.

18. In furtherance of their obstruction of justice scheme they once again coopted Defendant
Oetken into issuing a purported ‘order; that threatened to hold Plaintiff Kaul in contempt of he

did not dismiss K11-20 by October 16, 2024.

19. Defendant Oetken had been complicit in an identical and prior scheme in K11-17, when in
collusion/conspiracy with the K11-17 Defendants, who then became the K11-20 Defendants, he
issued a similar edict on March 15, 2024 (See hyperlink:
https://www.drrichardkaul.com/_files/ugd/7d05d1 _94966611d7f746c89d2ba85b5e82cea5.p

df) AND (Exhibit 6) two (2) days after Chief Judge Richard E. Meyers entered a Rule 26 order of

discovery.

20. Defendant Oetken’s misconduct is unprecedented in American jurisprudence, and he seeks,
through his threats to Plaintiff Kaul, to usurp the authority of every other district judge in the
United States.

21. The logical extension of such misconduct is that every district judge, for whatever reason,
could issue nationwide injunctions in which they positioned themselves as the arbiters and

‘gatekeepers’ of the entire federal judiciary.

22. Defendant AGC is included as it permitted itself to become part of Defendant Oetken’s
bribery related quid pro quo scheme in mid 2024, when it failed, upon Plaintiff Kaul’s ethics
complaint, to investigate Defendant Oetken’s violations and crimes of accepting bribes in return
for illegally selling the power and authority of the United States District Court to The Kaul Cases
Defendants (Exhibit 2).

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23. Defendant AGC, in failing to investigate or otherwise refer Defendant Oetken to
prosecutorial authorities did become complicit in his crimes, and pursuant to RICO is as liable

for all of his past/present/future violations as if it had directly committed them.

24. Defendant NDMB is included as its 2020/2024 denials of Plaintiff Kaul’s applications for
medical licensure based on the 2014 illegal NJ revocation did cause and continue to cause injury

to Plaintiff Kaul in the State of Dakota.

25. Other than the illegal injuries in Dakota, there exists a factual nexus between Defendant
NDMB and Defendants Oetken/AGC in that had justice been properly served in K11-7, the
illegal 2014 NJ revocation would have been reversed, the reversal of which would have caused

the grant of Plaintiff Kaul’s 2024 application to the Dakota Medical Board.

26. Had these events occurred, there would have commenced a relative remediation to the
immense ongoing/”new” twelve-years-plus (2012-2024) of injuries to Plaintiff Kaul’s

life/liberty/property/reputation.

27. But because Defendant Oetken continued and aided and abetted the knowingly illegal
continuation of The Kaul Cases Defendants corruption through the United States District Court,

and because Defendant AGC failed to investigate his crimes (Exhibit 4 + Exhibit 5) these

Defendants are proximately and willfully liable for the ongoing/”new” injuries to Plaintiff Kaul’s

life/liberty/property/reputation.

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DEFENDANT OETKEN’S CORRUPTION OF THE UNITED STATES DISTRICT
COURT + CAUSE FOR HIS IMPEACHMENT

28. The central issue in this case pertains to the blatant disrespect of a democratically
appointed district judge in the S.D.N.Y. for the SCOTUS principles and holdings of the seminal
case of SEC v Jarkesy: 22-859 (June 27, 2024) and his willful failure to recognize that the

application of this law to a case he had adjudicated on September 12, 2022, did render his
opinion/order null and void, an opinion/order that he admitted were the product of a quid pro

quo scheme of bribery with the defendants in that case.

29. Defendant James Paul Oetken, did, in period commencing in or round August 2021 enter in
to a racketeering conspiracy with the K11-7 Defendants, in which he participated in the
conversion of his bench/court into a “racketeering enterprise” through which he and his
defendant co-conspirators perpetrated a “pattern of racketeering” through his court of
amongst other things, the commission of the RICO predicate acts of bribery/public

corruption/wire fraud/obstruction of justice.

30. The purpose of these RICO violations were to injunct Plaintiff Kaul from seeking
justice/truth within the United States District Court as to all the facts preceding, surrounding
and underpinning the illegal 2012-214 suspension/revocation of his NJ license, a revocation
that has since 2012 deprived Plaintiff Kaul of his life/liberty/property/reputation and caused

ongoing/”new” violations of his human/civil/constitutional rights.

31. Defendant Oetken, in conjunction with Defendant AGC and his co-conspirators in the New
York region has acted with a sense of impunity in the belief that his criminal conduct on the
bench and its conversion into a “racketeering enterprise” would go un-exposed and un-

punished.

32. It was his sense of omnipotence that caused him to disregard and indeed violate his legal

obligations as to the law set forth in Jarkesy, effectively viewing an historical ruling from the

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U.S.C.SA. for the 5" Circuit and SCOTUS as a ruling whose holdings and principals he, as a

democratically appointed New York judge was obliged to ignore and or violate.

33. Defendant Oetken sits in a court less than two (2) miles from Wall Street, the home of the
SEC and the NYSE on which The Kaul Cases Defendant Allstate Insurance Company extracts
billions from the American public. It is in this incestuous financial world milieu that Defendant
Oetken operates his highly lucrative schemes, in which he sells his bench to the highest bidder
in each case, even if those cases involve evicting persons from properties owned by his Wall

Street bank co-conspirators.

34. Defendant Oetken has for decades conducted these criminal schemes under the purported
cover of judicial immunity and the protection of his political sponsors and Defendant AGC, the
latter an agency tasked with investigating and policing corrupt lawyers, but an agency that has
facilitated Defendant Oetken’s long-standing “pattern of racketeering”. Defendant Oetken has
been able to ‘stay under the radar’ for so long consequent to the fact that no lawyer has been

willing to expose his criminal activities, despite their obligation to do so.

35. However, arguably the most reprehensible part of Defendant Oetken’s delusion of
omnipotence has been his interference in the affairs of district courts from the 4" and 5**
Circuits, in which he has threatened Plaintiff Kaul with sanctions/contempt if he did not dismiss
cases that district judges in those circuits admitted with full knowledge of Defendant Oetken’s

September 12, 2022, purported ‘injunction’.

36. Defendant Oetken seeks to indirectly establish authority over every district judge in the
United States District Court with threats against Plaintiff Kaul, and in fact these threats continue
despite his knowledge that the SCOTUS ruling in Jarkesy, has for the legally substantiated
reasons stated in K11-20, invalidated his September 12, 2022, purported ‘injunction’, but

reasons/law he continues to violate, while siting on the federal bench.

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37. Defendant Oetken’s crimes/violations evidence a contemptuous and complete disregard for
the authority of every other district judge and court within the United States District Court,
including the Justices of the U.S.C.A. for the 5" Circuit and those of the Supreme Court of the

United States.

38. It is for these reasons and others that U.S.D.J. Oetken must be removed from the federal
bench, his case referred to the Senate Judiciary Committee and he be ordered to cease and

desist from any further interference in the affairs of other district courts and their judges.

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DEPRIVATION OF ANY/ALL IMMUNITIES

39. Defendant Oetken became deprived of any immunity the moment he commenced
conspiring with the K11-7 Defendants in the conception, development, and perpetration of the
quid pro quo schemes, as detailed in K11-17 (See hyperlink:
https://www.drrichardkaul.com/_files/ugd/7d05d1_52b993378d4a4bcea95ba6057c94d392.

pdf)

40. Defendant Oetken has knowledge of the facts of K11-17. This is evidenced in Defendants
Christie/Solomon/Heary’s private exparte letter to him just after the K11-17 ‘ORDER FOR
DISCOVERY PLAN’ was issued, a letter not published to the K11-7 docket (See hyperlink:
https://www.drrichardkaul.com/_files/ugd/7d05d1_5252b4bcfa4a4d5eb05d422034457549.p

df) AND by his own admission in his March 15, 2024 ‘ORDER’: “The Court has learned ...”” (See
hyperlink:
https://www.drrichardkaul.com/_files/ugd/7d05d1_94966611d7f746c89d2ba85b5e82cea5.p

df) ALTHOUGH Defendants Christie/Solomon/Heary’s January 19, 2024, letter was privately
addressed to Defendant Oetken, and not the Clerk of the Court nor any other judges within the

“Court”.

41. Defendant Christie/Solomon/Heary’s letter is not published to the SDNY docket, and neither
their names nor the letter is referenced on the docket nor in Defendant Oetken’s March 15,
2024 ‘ORDER’, as just further evidence of Defendant Oetken’s “pattern” of illegal exparte
violations. Defendant Oetken’s March 15, 2024 ‘ORDER’ is arguably without the authority of the
Court and constitutes a violation of U.S.C. Section 1018 and the Judiciary Act of 1789.

42. Defendant Oetken, with knowledge of the K11-17 facts of his crimes at a time no later than
January 19, 2024, has continued to fail to submit an affidavit into K11-17 denying the facts of

the quid pro quo schemes/evidential falsification/perjury and other acts of public corruption.

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His non-denial caused the admission of these facts, facts of felonies and felonies that deprive

him of any immunity.

43. Defendant Oetken’s guilt accounts for both his admission of fact and the failure of the K11-
17 Defendants to cause the submission of affidavits from the New York State Ethics Committee,
the Judicial Disciplinary Council, and any other judge within the SDNY, as to Defendant Oetken’s

refuting that Defendant Oetken engaged in criminal schemes with the K11-7 Defendants.

44, Defendant Oetken’s guilt and his recognition of his guilt account for his March 15, 2024,
effort to attempt to coerce Plaintiff Kaul under threat of contempt into dismissing K11-17, in
order to attempt to suppress the inevitable March 13, 2024, related K11-17 DISCOVERY ORDER
emergence of further evidence of his guilt, that would place him at risk of criminal indictment.
Defendant Oetken’s fraudulent March 15, 2024, order in K11-7 was entered on to the docket in
K11-17 on March 18, 2024 (Exhibit 1).

45. As with Defendant Christie, Defendant Oetken’s scheme in attempting to hatch plots to
jail/kill/silence does nothing but further evidence his crimes, crimes for which, like Edward

Manton (Exhibit 5), he lacks immunity.

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STATEMENT OF FACT + DEFENDANT OETKEN’S RULE 8(b)(6)

ADMISSIONS OF FACT

46. Plaintiff Kaul respectfully asserts that a chronologically organized statement of fact will
most effectively and with greatest clarity illustrate the perversion of justice committed by
Defendant Oetken and his co-conspirators, many of whom are defendants in K11-20 actively

obstructing/violating the authority of the U.S.D.C. for the S.D.T.

47. Pursuant to RICO’s doctrine of vicarious liability each Defendant is as liable for the
violations/offenses/injuries of every other Defendant as if they directly caused the

violations/offenses/injuries. See Salinas v US: 522 US 52 (1997)

2003 — 2013:

48. In late February/early March 2005, Plaintiff Kau! invented and successfully performed the
first outpatient minimally invasive spinal fusion, the facts of which are detailed in K11-20.
Consequent to this invention, Plaintiff Kaul earned immense professional and commercial
success, which caused jealousy amongst his market competitors who unable to compete with

him fairly did commence conspiring with the then NJ Governor and now Defendant Christie.

49. The conspiracy involved the perpetration of a series of quid pro quo schemes in which
Plaintiff Kaul’s competitors funneled bribes to Defendant Christie in return for having him

abuse his state executive power to order The Kaul Cases Defendant, New Jersey Board of

Medical Examiners to manufacture a knowingly false case to cause the illegal suspension-

revocation of Plaintiff Kaul’s license in 2012/2013.
50. The Kaul Cases Defendants, of which the K11-20 Defendants are members, did seek not

only to cause a license revocation, but sought to permanently eliminate Plaintiff Kaul by

attacking every element of his life/liberty/property/reputation, such that his existence would

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cease, and he would never expose their crimes. Their scheme failed and Plaintiff Kaul did, in

late 2013 commence collecting evidence of the crimes/violations of The Kaul Cases Defendants.

2013 — 2016:
51. Consequent to the revocation and the widespread malicious publicity surrounding the
events, Plaintiff Kaul was forced into a state of poverty/homelessness and became obliged to

file on June 17, 2013, for Chapter 11 bankruptcy for his four (4) healthcare related businesses.

52. On July 21, 2014, the Chapter 11 proceeding was converted to a Chapter 7 liquidation
consequent to final order of license revocation on March 24, 2014. The entire revocation

proceedings, as detailed in Ki1-20 were the product of corruption and were corrupt.

53. The principal purpose of the corruption was to cause the elimination of the competitive
threat posed by Plaintiff Kaul to his competitors in the minimally invasive spine surgery market,
that included neurosurgeons/hospitals/insurance companies., all of whom illegally profited

from the elimination of Plaintiff Kaul.

54. Having had his license revoked in 2014 and illegally deprived of his career (1983-2012), his
entire estate and his reputation, Plaintiff Kaul, after much contemplation, decided not to leave
the United States and his two (2) young children, but to stay, teach himself the law and seek to
have exposed the truth of the crimes of The Kaul Cases Defendants. And so, on February 22,
2016, Plaintiff Kaul filed K1 in the Southern District of New York, from where it was on April 16,

2016, transferred to the District of New Jersey over Plaintiff Kaul’s objections.

2016-2022:

55. In this period, Plaintiff Kaul did, in a continued state of poverty, continue to file claims in
various district courts based on the national injury caused to his medical career and inability to
procure a license in any state except that of Pennsylvania, wherein his application was granted

on May 27, 2021, but on condition he find a PA licensed physician willing to periodically

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monitor his practice, a condition rendered impossible consequent to the malicious and widely

publicized articles/stories propagated within the New York-New Jersey-Pennsylvania area.

56. As such and despite concerted efforts Plaintiff Kaul was unable to find such a person and his
letters to the PA medical board seeking to have the board conduct the monitoring were
ignored. From February 22, 2016, after having acquired sufficient knowledge of the law,
Plaintiff Kaul filed multiple lawsuits in the United States District Court, most of which were
transferred to the District of New Jersey, where they were stayed and or voluntarily dismissed,
with the non-transferred cases being cases in which Plaintiff Kaul was not permitted to

commence discovery.

57. In the period from 2016 to 2024, not one fact has been denied by any of the defendants,
the courts (K5/K11-14/K11-15/K11-17/K11-20) in which discovery orders were issued, the
Defendants did violate these orders and harass/intimidate/corrupt the judges into staying and

or dismissing cases in which they had entered discovery orders.

58. On May 27, 2021, Plaintiff Kaul was kidnapped by a group of nine armed men at his place of
residence/work in New Jersey, under orders from Defendant Christie, who had been served a
Summons/Complaint in K11-2 at his law office in Morristown, NJ, and who mistakenly believed
it would intimidate Plaintiff Kaul into ceasing his prosecution of The Kaul Cases. It did not and

Plaintiff Kaul continued.

59. The kidnapping scheme failed and Plaintiff Kaul’ person was abandoned at a hospital by two
police officers who rapidly disappeared. The events were memorialized in an affidavit filed by
Plaintiff Kaul on May 28 in K11-2. No person as of yet has been criminally prosecuted for this

crime.

60. On August 19, 2021, Plaintiff Kaul filed K11-7. Summonses were issued and briefing was
conducted up until February 2022. On September 12, 2022, Defendant Oetken issued an

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opinion/order in which none of Plaintiff Kaul’s arguments were analyzed and in which none of
the highly incriminating evidence of the crimes of The Kaul Cases Defendants was either

acknowledged, referenced and or critically incorporated into his knowingly fraudulent opinion.

61. The reason that Defendant Oetken so blatantly abused the power of the United States
District Court pertained to the quid pro quo scheme that he had, in collusion/conspiracy with
The Kaul Cases Defendants perpetrated in the United States District Court, thus converting it

into a “racketeering enterprise”.

62. On September 12, 2022, Defendant Oetken entered a knowingly fraudulent purported
‘injunction’ onto the federal docket, that sought to permanently bar Plaintiff Kaul from seeking
restitution for the criminally perpetrated immense and ongoing/”new” injuries to his

life/liberty/property/reputation.

63. Defendant Oetken unilaterally set himself up as the nationwide arbiter of the decision of
every other judge in the United States District Court as to whether or not they could exercise
their independent judgment in accepting cases filed by Plaintiff Kaul, cases that were factually

and legally distinct to K11-7.

2023-2024:

64. K11-17 was filed on November 20, 2023, in the U.S.D.C. for the E.D.N.C. and enclosed
principally with were all documents submitted by Defendant Oetken in relation to Plaintiff Kaul,
and all documents submitted by Plaintiff Kaul in relation to Defendant Oetken in the period

commencing on September 12, 2022.

65. On March 13, 2024, the E.D.N.C. subsequent to five (5) months-worth of briefing and
knowledge of all documents pertaining to Defendant Oetken’s violations/abuse of the power of
the United States District Court, did enter an ORDER FOR DISCOVERY PLAN (K11-17: D.E. 65),

an order that was violated by the K11-17 Defendants consequent to their prior “pattern” of

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perpetrating a scheme of judicial corruption/harassment/intimidation purposed to have the

case either stayed and or dismissed.

66. Regardless, on April 12, 2024, Plaintiff Kaul submitted a ‘REPORT OF THE PARTIES PLANNING
MEETING’, in which he informed the district court of the Defendants violation of the March 13,
2024 ‘ORDER FOR DISCOVERY PLAN’ and on April 18, 2024, submitted ‘PLAINTIFF KAUL’S
REQUEST FOR THE COURT TO TAKE JUDICIAL NOTICE PURSUANT TO FEDERAL RULE OF
EVIDENCE 201, OF DOCUMENTS RELEVANT TO DEFENDANT FEDERATION OF STATE MEDICAL
BOARDS’ (K11-17: D.E. 94).

67. The latter document is irrefutable proof of the fact that state medical boards are not
sovereign entities but are in fact subjugate elements of the for-profit entity of Defendant FSMB

or as pled by Plaintiff Kaul within The Kaul Cases, the “Federation Cartel” (“FC”).

68. This cartel, one that has taken decades to establish, illegally confers absolute antitrust
power on the “FC” over, amongst other things, the entire system of so called ‘physician
regulation and disciplining from which it reaps billions in profit. The “FC” aggressively conducts
quid pro quo schemes with hospital/insurance/pharmaceutical corporations, and uses its power
to terminate physicians who either fail to support or oppose the corporate profiteering agendas

of the “FC” hospital/insurance/pharmaceutical corporations quid pro quo conspirators.

69. It achieves these terminations (read executions) by disseminating orders to its subjugate
state medical boards to revoke the targeted physicians’ licenses and obstruct their efforts to

have those licenses reinstated and or new license issued.
70. Thus, pursuant to RICO’s doctrine of vicarious liability pursuant to Salinas , the

acts/offenses/violations of one state medical board become the liability of all subjugate state

medical boards of the “FC”. “The crime of one becomes the crime of all”

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71, And so, a violation of a physicians’ human/civil/constitutional rights in one state causes him

an injury in all states, which thus provides him standing to bring suit in any/all states.

72. The Kaul Cases represent an existential threat to the “FC”, which accounts for the lengths
to which it and The Kaul Cases Defendants have gone to attempt to cause the elimination of

Plaintiff Kaul (kidnapping/false indictment/false arrest/false incarceration/attempted killing).

73. Similarly, it accounts for the fact of their corruption of certain members of the politico-
judicial bodies to attempt to prevent Plaintiff Kaul from further exposing their decades-long
corporate-profit driven crimes against the American public and medical profession.

74. Defendant Oetken is simply one of the more recent public servants to have gotten snared in
their ‘net of corruption’, a’net’ into which he willingly entered in the belief the ‘net’ would
restrict Plaintiff Kaul but never imagining that the net would entrap him and his co-

conspirators.

75. However, and arguably the ‘spark’ that lit the fundamental/illegal structure of the “FC” was
respectively the May 18, 2022, and June 27, 2024, opinions/orders of the U.S.C.A. for the 5%
Circuit and SCOTUS in Jarkesy, which established, as pled in K11-20 (----) that the jury-less
article Ill judge free NJ administrative April 2, 2012, suspension and March 24, 2014, revocation

were/are illegal.

76. The Kaul Cases Defendants, and particularly the lawyer defendants, recognized these facts
as some of many of the knowing illegality of their revocation scheme, but calculated Plaintiff

Kaul would be eliminated, and Plaintiff Kaul would never expose the scheme.
77. But when Plaintiff Kaul commenced litigation on February 22, 2016, The Kaul Cases

Defendants conviction of their impunity began to shudder and so they embarked on grand

schemes of politico-judicial corruption, again convinced they would prevent the emergence of

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further evidence of their crimes and of the ever-expanding conflagration of their criminal

conspiracy.

78. However, recognizing in or about 2021 that simple quid pro quo bribery schemes were
insufficient, they had Plaintiff Kaul kidnapped/arrested/jailed and realized that the dollar-value
of the bribes had to be of sufficient value to have a district judge not only dismiss the case but
enter a nationwide injunction purporting to prevent Plaintiff Kaul from seeking restitution for
the past ongoing/”new” injuries to his life/liberty/property/reputation, without first obtaining

the permission of such a judge willing to take such a risk of criminal conspiracy.

79. That judge was Defendant Oetken, a resident of the most expensive part of Manhattan
(Chelsea) whose daily living expenses/lifestyle require more than a federal judge’s salary does
permit. Defendant Oetken sits on many cases involving financial corporations, and treats these

cases as personal profit generators.

80. Defendant Oetken, recognizing the illegality of his ‘injunction’ scheme and of his having
entered an un-exit-able criminal conspiracy, did quickly succumb to the K11-17 Defendants
demand consequent to the March 23, 2024 ‘ORDER OF DISCOVERY’ that he issue an ‘order’
threatening to hold Plaintiff Kaul in contempt if he did not dismiss K11-17 by March 29, 2024.
The K11-17 Defendants threatened Defendant Oetken with exposing his crimes/professional

ruin if he failed to comply with their demand.

81. Plaintiff Kaul sued Defendant Oetken in K11-18 on March 25, 2024, in the U.S.D.C. for the
E.D.N.C. for all of the human/civil/constitutional rights violations pled in K11-23. Defendant
Oetken’s failure to deny the facts/allegations did, pursuant to Rule 8(b)(6) cause these facts to

become admitted for all purposes.

82. The reason for Defendant Oetken’s non-denial of the facts in K11-18 was his guilt of those

allegations/facts, facts that he had admitted on October 6, 2022 (Exhibit 3) and then on August

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14, 2023, when he belatedly and summarily denied Plaintiff Kaul’s October 6, 2022, motion for

his disqualification, without denying the facts substantiating that disqualification (Exhibit 4).

83. Defendant Oetken has denied none of the charges levied against him by Plaintiff Kaul in the
period from September 14, 2022, to the present, including those on March 25, 2024, in K11-18.

84. Defendant Oetken is guilty of, amongst other things, of having abused the authority and
power of the United States District Court to conduct a “pattern of racketeering” within the
S.D.N.Y. and to attempt to then perpetrate the products of that fraud through every other
district court in the United States District Court, by threatening Plaintiff Kaul with contempt if

he fails to dismiss cases accepted and adopted by fully informed district judges in those courts.

85. On August 26, 2024, Plaintiff Kaul in filing K11-20 in the Southern District of Texas, did
inform the court and district judges of all the circumstances/events/facts surrounding the
September 12, 2022, purported ‘injunction’ and affairs associated with Defendant Oetken.
Based on these representations and other facts of immense substance and relevance, the
U.S.D.C. for the S.D.T did accept the case, issue summonses and an ‘ORDER FOR CONFERENCE
AND DISCLOSURE OF INTERESTED PARTIES’ on August 30, 2024 (See hyperlink:
https://www.drrichardkaul.com/_files/ugd/7d05d1_629a8061f69e4da08bf5c17e2677a40c.p
df).

86. The K11-20 Defendants have violated and continue to violate this order while attempting to
secretively scheme with Defendant Oetken to have Plaintiff Kaul’s person physically restrained
(See hyperlink:
https://www.drrichardkaul.com/_files/ugd/7d05d1_94966611d7f746c89d2ba85b5e82cea5.p

df) in order to prevent him appearing for the scheduled November 4, 2024 ‘INITIAL PRETRIAL
AND SCHEDULING CONFERENCE’ (Exhibit 18). Plaintiff Kaul, in randomly checking the court
dockets on October 3, 2024, came to know of the K11-20 Defendants clandestine scheme with

Defendant Oetken , and then emailed Defendants a copy of his letter to the S.D.T. judicially

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noticing it of Defendants letters to Defendant Oetken. This prompted the K11-20 Defendants to
submit their secretively filed letters to Defendant Oetken with the S.D.T. just before Plaintiff
Kaul filed his judicial notice (Exhibit 7) in order to attempt to cover-up their scheme to keep
Plaintiff Kaul unaware of Defendant Oetken’s October 2, 2024 ‘order’ until

he was arrested/jailed on October 17, 2024, thus keeping him from appearing at the Scheduling
Conference on November 4, 2024 (Exhibit 18) (See hyperlink:
httos://www.drrichardkaul.com/_files/ugd/7d05d1_f9e45bd12c994c78ae8h0368152e7895.p

df) a move Defendants hoped/believed would cause the dismissal of K11-20.

87. Defendant Oetken’s critical participation in the knowingly illegal September 12, 2022,
purported ‘injunction’ scheme has severely compromised his ability to independently function
as a judge within the United States District Court, and as such should be removed from the

federal bench.

88. And it is Defendant Oetken’s recognition of the desperate situation into which he caused his
irreversible admission, that accounts for his second threat to attempt to hold Plaintiff Kaul in
contempt for allegedly violating an order that he and the K11-20 Defendants know is illegal and

the product of a massive bribery related ‘Fraud on the Court’.

89. Further bolstering his knowledge of his guilt is the fact that in K11-18 his non-denial of the
facts of his crimes did cause their admittance for all purposes pursuant to Rule 8(b)(6).
Defendant Oetken would have been better advised to admit or deny the K11-18 facts and

attempt to shift the quid pro quo liability onto The Kaul Cases Defendants.

90. Instead, not only have most of those Defendants admitted in K11-20 to facts of their guilt,
but Defendant Oetken’s Rule 8(b)(6) admission of the facts of his guilt in K11-18 was
unqualified and with acceptance of complete liability, regardless of its procedural dismissal on

April 8, 2024.

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91. In fact, it is Defendant Oetken’s K11-18 admittance of guilt, acceptance of complete liability
and the lack of any defense, that establishes his guilt in K11-23 and an admittance of

undisputed fact sufficient for Summary Judgment on all counts.

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LEGAL CLAIMS

1. COUNT ONE

Association-In-Fact Enterprise: U.S.D.C.-S.D.N.Y.-State of New York-NYSE (“USN- Association-

In-Fact Enterprise”)

Defendant Persons: Dakota Medical Board/New York State Attorney Grievance

Committee/James Paul Oetken

Co-conspirators: TD Bank/Geico/Grewal

RICO Predicate Acts: Bribery/Wire Fraud/Obstruction of Justice/Public Corruption

Overview:

92. In a period commencing in or around August 2021, Defendant Oetken did enter a
conspiracy with, amongst others, co-conspirators TD Bank/Geico/Grewal, the agreed purpose
of which was to cause the knowingly illegal dismissal of K11-7 with prejudice and the entry ofa
purported nationwide ‘injunction’ that sought to prevent Plaintiff Kaul from filing any further
complaints/petitions/documents in the United States District Court related to the “denial [not
revocation] of his medical license” and or litigation proceedings initiated by either the Ki1-7

Defendants or Plaintiff Kaul “before” [not after] September 12, 2022.

93. Defendant Oetken’s purported ‘injunction’ as admitted in K11-18 in a period from March 25
to April 8, 2024, was the product of a bribery related quid pro quo scheme in which Defendant
Oetken did, in collusion/conspiracy with his co-conspirators convert the U.S.D.C. for the
S.D.N.Y. into an “association-in-fact racketeering enterprise” through which he and his co-
conspirators perpetrated a “pattern of racketeering” through the commission of the knowingly

illegal RICO predicate acts of bribery/public corruption/obstruction of justice/wire fraud.

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94. Defendant Oetken’s guilt in K11-23 is consequent to his Rule 8(b)(6) admissions of fact as to
his failure to deny the facts in K11-18 and or raise any defense, be it
qualified/sovereign/absolute immunity and or claim sufficiency. Res judicata provides no
defense to admitted facts regardless of the final case disposition, for the facts are an entity

separate from any non-substantive procedural basis for a dismissal.

95. In K11-18, Defendant Oetken became aware of the Complaint on or about March 27, 2024,
and could have voluntarily entered the case and denied the facts, but he did not, because he

was/is guilty of the levied charges/facts.

96. In fact, he could even have sought permission from the U.S.C.A. for the 4" Circuit to enter
the appeal, but he did not, as further evidence of his guilt, and of his attempt to corruptly
manipulate the U.S.C.A. for the 4" Circuit into affirming the dismissal of K11-18.

97. Defendant Oetken did not anticipate that Plaintiff Kaul would dismiss the K11-18 4 Circuit
appeal and did neither anticipate the filing of K11-20 within the U.S.C.A. for the 5* Circuit, the
Circuit from which the seminal ruling in Jarkesy emerged, the principles of which
rendered/render illegal the 2014 NJ revocation, all of its legal sequalae and every opinion/order
that was based on and or incorporated the illegal 2014 jury-less article III judge free revocation,

including the K11-7 September 12, 2022 purported ‘injunction’.

98. These facts are known to Defendant Oetken, as he was provided a copy of the K11-20
Complaint by Defendants FSMB/Allstate (Exhibit 8) and knows these facts to be admitted
consequent to his knowledge of the K11-20 Defendants Rule 8(b)(6) \failure to deny the facts,

thus causing their admission for all purposes.
99. However, despite having admitted facts of his crimes in K11-18 and knowing of the K11-20

Defendants admission of facts of their crimes, and of his conflicted lack of authority in matters

as to Plaintiff Kaul, he did, in knowing violation of civil/criminal law abuse the authority of the

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United States District Court to attempt, in a knowingly illegal manner, threaten Plaintiff Kaul

with contempt if he did not dismiss K11-20.

100. Defendants NDMB/AGC liability stems in part respectively from their 2024 denial of
Plaintiff Kaul’s license application to the NDMB (Exhibit 3) and Defendant AGC’s complicity in
their failure to investigate Defendant Oetken’s bribery related quid pro quo scheme with The

Kaul Cases Defendants.

101. Had Defendant AGC investigated Defendant Oetken’s crimes and or referred the matter to
prosecutorial authorities, the illegality of the 2014 NJ revocation would have been fully exposed
as would have Defendant Oetken’s illegal abuse of the power/authority of the United States
District Court, the net result which would have been a ‘turning of the clock’ back to 9 am EST on
April 2, 2012, and rectification/remediation/compensation of every injury to Plaintiff Kaul’s

life/liberty/property/reputation.

102. However, of greater import would be a reformation of the state medical board system to
bring it into compliance with the Seventh Amendment related ruling in Jarkesy, in which the
SEC has been forced to comply, a compliance that constitutes precedent for the same

reformation of American state medical boards.

103. The corrupt vigor with which The Kaul Cases Defendants have contested the claims (2016-
2024) is partly explained by their realization of the illegality of what the crimes they committed
against Plaintiff Kaul (2005-2024), and of the immense/detrimental material consequences to
their profiteering and imposition of ‘fines’ against innocent, principally ethnic minority

physicians.

104. In essence, The Kaul Cases represent an existential threat to the “Federation Cartel”, its
subjugate state medical boards and their obscene/illegal profiteering at the expense of human

life.

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The Association-In-Fact Enterprise:

105. The pleading of an association-in-fact enterprise can be deduced from the pleading of the

RICO predicate acts and the “pattern of racketeering”. See Boyle v United States, 129 S.Ct 2237

(2009), but additionally and pursuant to the Boyle , the elements of pleading are as follows:

106. A purpose - the illegal bribery related dismissal with prejudice of K11-7 and the entry of a
knowingly illegal nationwide ‘injunction’, the purpose of which was to prevent Plaintiff Kaul
from further/fully exposing the long-standing crimes of The Kaul Cases Defendants, many of
which resulted in the incarceration of principally ethnic minority physicians to whom the
insurance industry owed money or who presented a competitive threat in the healthcare

market.

107. A relationships among those associated with the enterprise — Defendant Oetken’s

relationship in the S.D.N.Y. with many of the NY-NJ political/Wall Street based Defendants and
or individuals/entities associated with them extends back to his 2011 appointment to the
federal bench. These corrupt relationships continued after the dismissal and did asa
consequence of the dismissal and purported ‘injunction’ become even further fortified in their
criminality. The quid pro quo dismissal purposed scheme committed in K11-7, and then in K11-
17 (See hyperlink:
hitps://www.drrichardkaul.com/_files/ugd/7d05d1_474ecf356fb9449f87a93e4f0e0cd46f.pdf

) AND the attempt in K11-20 evidence the ongoing nature of the association-in-fact enterprise

(108) Longevity sufficient to permit these associates to pursue the enterprise’s purpose — the

association-in-fact enterprises that preceded K11-7, that did continue in K11-7/K11-17 and
now seeks to extend its racketeering effect into K11-20 do evidence a longevity that
commenced in 2011. This longevity is ongoing in 2024 and will continue to operate unless
Defendant Oetken is removed from the federal bench and held liable with his co-conspirators
for the commission of crime within and ‘under cover’ of the United States District Court. The

perils of permitting Defendant Oetken to continue to sit on the bench and issue knowingly

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fraudulent opinions that become incorporated into the fabric of American jurisprudence is that
they pervert/obstruct the natural course of justice in the United States, and violate Rules
144/455 as to his disqualification, a disqualification that he himself denied on August 14, 2023
(K11-7: D.E. 172).

109. As to the pleading requirements for an association-in-fact enterprise, the circuit splits on

what exactly was required were clarified by the Supreme Court in Boyle:

110. “Such a group need not have a hierarchical structure or a chain of command; decisions
may be made on an ad hoc basis and by any number of methods-by majority vote, consensus,
a show of strength, etc. Members of the group need not have fixed roles; different members
may perform different roles at different times. The group need not have a name, regular
meetings, dues, established rules and regulations, disciplinary procedures, or induction or

initiation ceremonies. While the group must function as a continuing unit and remain in

existence long enough to pursue a course of conduct, nothing in RICO exempts an enterprise

whose associates engage in spurts of activity punctuated by periods of quiescence. Nor is the
statute limited to groups whose crimes are sophisticated, diverse, complex, or unique; for
example, a group that does nothing but engage in extortion through old-fashioned,

unsophisticated, and brutal means may fall squarely within the statute’s reach.”

111. And so, in applying the Boyle standard to the instant matter, the motive/method of the

USN Enterprise related relationships between the below identified Defendants and the co-

conspirators is as follows: (i) Defendant Oetken — Defendant AGC; (ii) Defendant Oetken —
Defendant NDMB; (iii) Defendant Oetken — Co-conspirator Grewal; (iv) Defendant Oetken —
Co-conspirator TD; (v) Defendant Oetken — Co-conspirator Geico; (vi) Co-conspirator TD — Co-
conspirator Grewal; (vii) Co-conspirator TD — Co-conspirator Geico; (viii) Co-conspirator Geico
— Co-conspirator Grewal; (ix) Co-conspirator NDMB — Co-conspirator Grewal; (x) Co-

conspirator NDMB — Co-conspirator Geico; (xi) Co-conspirator NDMB — Co-conspirator TD

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112. Purpose — The overarching purpose of the post-revocation USN enterprise/scheme was to
prevent Plaintiff Kaul from invalidating the illegal 2014 NJ revocation and all of its legal and
non-legal sequalae, and from exposing the long-standing criminal history of The Kaul Cases
Defendants, in which they had through schemes of politico-judicial corruption converted state
persons/agencies into “racketeering enterprises” through which they perpetrated “patterns of
racketeering” through the commission of RICO predicate acts, many of which resulted in the

death and or incarceration of innocent physicians to whom money was owed.

113 Relationships among those associated with the enterprise — The fundamental and common

element that relates the Defendants and the co-conspirators is the fact that all fall into one of
two categories, those being state actors with state power and private profit purposed actors
seeking state power to further their economic and or political agendas. However, their common
purpose was to prevent Plaintiff Kaul from exposing their commission of crime (2005-2014) as
to the illegal revocation. In the period from 2014 to 2024, the crimes pertained to various
schemes of judicial corruption/kidnapping/false indictment/false arrest/false
imprisonment/attempted killing, all purposed to attempt to cover up the revocation related

crimes (2005-2014).

114. Defendant Oetken illegally profited from illegally selling the power of the United States
District Court in a series of quid pro quo schemes with co-conspirators TD/Geico who having
participated in the revocation conspiracy by destroying Plaintiff Kaul’s economic standing, did
bribe Defendant Oetken to dismiss K11-7 and issue an ‘injunction’ purporting to prevent

Plaintiff Kaul from seeking legal redress for the injuries to his life/liberty/property/reputation.

115. Co-conspirators TD/Geico were motivated to cause a corruption of Defendant Oetken in
an attempt to provide cover for its revocation related crimes, in the knowledge that a public
exposure of the crimes would injure their standing on the NYSE, their profits and subject their

corporate officers to civil/criminal prosecution.

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116, Defendant Oetken illegally benefitted from perverting the power of the United States
District Court in a series of quid pro quo dismissal/purported ‘injunction’ schemes with co-
conspirator Grewal/others, a purpose of which was to prevent Plaintiff Kaul from procuring
further proof of the illegality of The Kaul Cases Defendant, New Jersey Board of Medical
Examiners (“NJBME”} 2014 revocation, a revocation the judicial-evidential confirmation of
which would cause a nullification/reversal/compensation of the illegal revocation and every
legal and non-legal injury subsequently caused to Plaintiff Kaul’s
life/liberty/property/reputation (2012-2024), in conjunction with the civil/criminal holding of

The Kaul Cases Defendants.

117. Defendant NDMB, benefitted from Defendant Oetken’s illegal dismissal and purported
‘injunction’ in that being a subjugate member of the “Federation Cartel” it is as liable for the

crimes of one member of the cartel, namely The Kaul Cases Defendant, NJBME, as if it had

directly committed the crimes. Additionally, co-conspirator, NDMB, benefitted from having
Defendant Oetken dismiss K11-7, in that the dismissal was an effective validation, albeit false,
of the illegal 2014 NJ revocation, a position that Defendant NDMB used in a knowingly illegal
manner to deny Plaintiff Kaul’s licensure applications in 2020/2024, thus re-affirming its
subjugation/felty to the “Federation Cartel”, from which its membership causes profit to its

executives.

(118) Longevity sufficient to permit these associates to pursue the enterprise’s purpose — The

purpose of the USN enterprise is to maintain its highly lucrative monopoly power over the
entire system of so called ‘physician regulation and discipline’, the very existence of which has

been and is challenged by The Kaul Cases, including K11-20. This system was in existence prior

to the 2005 commencement of the revocation conspiracy and was further fortified in or around
2008 by the eponymous ‘Healthcare Fraud Prevention Partnership’, a concoction of the
insurance industry purposed to further subjugate the medical profession in order to increase
shareholder/executive compensation of the insurance/hospital/pharmaceutical corporations

through the exploitation and at the expense of the medical profession. The perpetration of this

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scheme required a coopting of certain judges/courts to nullify/dismiss/injunct any physicians
that challenged the illegal monopoly of the healthcare market by these exploitative for-profit
corporations, who were fundamentally/illegally practicing medicine without a license, a
condition that existed/exists consequent to their corrupt capture of the regulatory/judicial
apparatus of state. All of these factors of consolidation of power have caused a longevity of
existence/function such that their knowingly illegal antitrust conspiracies have continued

without challenge, until The Kaul Cases, to the immense detriment of the public and medical

profession.

Bribery:

119. K11-7 was filed on August 19, 2021, and shortly thereafter the K11-7 Defendants
commenced communicating across the US wires and in face-to-face meetings as to the
perpetration of a knowingly illegal quid pro quo bribery scheme with Defendant Oetken
purposed to have him dismiss K11-7 with prejudice and issue a nationwide ‘injunction’ that
would prevent Plaintiff Kaul from seeking redress for the crimes/violations committed against

him (2005 onwards) by The Kaul Cases Defendants without Defendant Oetken’s permission.

120. The conflicted absurdity of this proposition, that Plaintiff Kaul required the permission of a
person at the center of the bribery related quid pro quo scheme, accounts in large part for the
invalidity of the purported ‘injunction’ and the decision of Chief Judge Richard E. Meyers to
admit the case into the jurisdiction of the E.D.N.C. with full knowledge of all matters related to

Defendant Oetken’s misconduct in K11-7.

121. It would be akin, and Plaintiff Kaul asserts this analogy with the greatest humility, to
Nelson Mandela seeking permission from the 1988 apartheid South African President, P.W.
Botha, to conduct the affairs of the African National Congress in the dismantling of the

brutality/injustice of apartheid.

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122. In the period from August to December 2021, the K11-7 Defendants had developed and
agreed upon a scheme whereby to attempt to create cover the bribes would be transmitted by
third party actors to law firms/public relations firms/political lobbyists and specifically to
persons/politicians/lawyers with personal and or professional connections to Defendant
Oetken, be those connections direct or indirect. In this manner the K11-7 Defendants hoped to

create an opaqueness to their knowingly illegal scheme.

123. The bribes would originate from the Defendants bank accounts/other investment vehicles
(off-shore and domestic) and would be materialized in Defendant Oetken’s possession in a
multitude of ‘gifts/cash deposits in accounts of persons associated with him to third
degree/payment of living expenses-mortgage-rent/travel expenses and other easily concealed

hard assets, as was exposed in the criminal conviction of US Senator, Robert Menendez.

124. The bribes were paid in installments linked to the progress of K11-7, with the final bribe
being transmitted in or around December 2022, when it became apparent Plaintiff Kaul had not
appealed the corrupt order in the same court building of the circuit in which Defendant Oetken

sat.

125. Defendant Oetken’s chambers/courtroom are at 40 Foley Square, NY, NY, the location of
the U.S.C.A. for the Second Circuit, and an appeals circuit on which Defendant Oetken had
intermittently sat.

126. In a period from September 12, 2022, onwards, it became apparent to Defendant Oetken
and The Kaul Cases Defendants that the bribery related scheme had failed, and the K11-17
Defendants had become the K11-20 Defendants.

127. And specifically in the period from June 27 to October 2024, there emerged new facts/new
law that rendered illegal the 2014 NJ revocation and all of its legal/non-legal sequalae, including

Defendant Oetken’s September 12, 2022, purported ‘injunction’.

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128. The SCOTUS ruling in Jarkesy was violated by Defendant Oetken on October 2, 2024, when
he issued his knowingly fraudulent order attempting to compel Plaintiff Kaul to dismiss K11-20

under threat of sanctions/contempt.

129. Defendant Oetken knew that Jarkesy rendered illegal the 2014 jury-less article Ill judge
free revocation and all its legal/non-legal sequalae, but Defendant Oetken, in a knowingly
blatant violation of the law, did enter his October 2, 2024, purported ‘order’ onto the K11-7
docket. And he did so in part because having entered the criminal conspiracy in 2022, the K11-
7/K11-17/K11-20 Defendants threatened him with exposure if he failed to comply with their

order.

130. And Defendant Oetken recognized and recognizes that such exposure would result in
civil/criminal investigations and a re-opening/examination of all his prior cases, for corrupt
judges who have sat on the bench for ten (10) years without permanent appellate elevation,
develop a sense of frustration, omnipotence and entitlement to what they consider the ‘spoils
of war’. They lose sight of the immense/immeasurable civic value that they provide through
their measured and impartial adjudication, and of the fact that their decisions form the bedrock

of American jurisprudence, without which the appellate courts could not function.

Wire Fraud:
131. In a time period commencing in or around February 2022, Defendant Oetken/agents
commenced using the US wires to transmit information to the K11-7 Defendants/agents

regarding the perpetration of the knowingly illegal quid pro quo bribery scheme.
132. From February 2022 onwards, up to and including October 2024, Defendant

Oetken/agents did continue to use the US wires to exchange information/facts as to the failure

of the scheme in causing Plaintiff Kaul to crease his prosecution of The Kaul Cases.

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133. Defendant Oetken and The Kaul Cases Defendants used the US wires in a knowingly illegal
manner on thousands of occasions in the period commencing in February 2022 and continuing

into October 2024.

134. In these communications, Defendant Oetken did, after having received the entirety of his
bribes, express a reluctance to continue to use the authority of the United States District Court

to continue perpetrating the scheme.

135. Defendant Oetken’s reluctance stemmed from the fact that the prosecutorial authorities
in the S.D.N.Y. had brought criminal indictments against a sitting US Senator (Robert
Menendez) and NYS Mayor (Eric Adams) based on charges of public corruption and specifically
engaging in bribery related quid pro quo schemes in which they sold the power of state in

exchange for money/gifts/other tangible favors.

136. Defendant Oetken, now in a more desperate condition, having recognized that Plaintiff
Kaul had exposed his criminal scheme in K11-18 and the ongoing criminal prosecutions of
Menendez/Adams became less cautious in his communications with The Kaul Cases

Defendants.

137. Defendant Oetken communicated that he was concerned that his corrupt activities on the
bench would be submitted to the Office of the US Attorney for the S.D.N.Y.

138. Defendant Oetken used the US wires to communicate his fear that if the prosecutorial
authorities subpoenaed his records, he would be charged with the same offenses levied against

Menendez/Adams.

139. In the continued perpetration of the scheme and its attempted cover up, there were direct
communications across the US wires between Defendant Oetken and The Kaul Cases
Defendants in which Defendant Oetken was threatened with exposure if he failed to follow the

orders of The Kaul Cases Defendants.

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140. In some of these communications, The Kaul Cases Defendants expressed immense fear as

to the consequences to their lives of Plaintiff Kaul’s continued prosecution of The Kaul Cases.

141. The Kaul Cases Defendants and most recently the K11-20 Defendants, did communicate
their grave concerns that if they were deposed by Plaintiff Kaul, further evidence of their crimes

would emerge.

142. The K11-20 Defendants, now in a similarly more desperate condition, abandoned all
caution as to attempting to ‘cover their tracks’ and plainly stated that if Plaintiff Kaul were not

stopped, they feared they would be indicted, as were Menendez/Adams.

143. The K11-20 Defendants did also use the US wires to transmit that if Plaintiff Kaul’s
prosecution were successful, officers for the corporate Defendants (Allstate/FSMB) would be

held criminally liable.

144, The K11-20 Defendants did use the wires to communicate to each other possible

alternative plans to eliminate Plaintiff Kaul if Defendant Oetken did not cooperate.

145. The K11-20 Defendants, in communicating these alternative Plaintiff Kaul elimination plans
to Defendant Oetken, did indirectly threaten Defendant Oetken’s life and the lives of those
related to him to the third degree.

146. In these email communications to both Defendant Oetken’s private and official emails, and
the emails of his agents, the K11-20 Defendants communicated that if Defendant Oetken did
not follow their orders, they would expose other highly incriminating evidence of his prior
corrupt acts on the bench and of his homosexual personal life prior to and during his marriage.
147. Defendant Oetken, recognizing that his choice was to either comply with the K11-20
Defendants orders or accept the end of his judicial career and possible

impeachment/indictment, did comply and use the US wires to issue a knowingly illegal

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purported order on October 2, 2024, once threatening Plaintiff Kaul with contempt if he did not
dismiss K11-20.

Obstruction of Justice:
148. Defendant Oetken, a lawyer and a jurist knew that when he entered the bribery related
quid pro quo scheme with the K11-7 Defendants in or around February 2022, his acts did and

would constitute an obstruction of justice.

149. Defendant Oetken knew that some elements of the crime of obstruction of justice to

include the elements of there being an ongoing legal proceeding/an awareness of the ongoing
legal proceeding/a criminal intent to interfere with the legal proceeding for criminal reasons/ a
destruction of evidence (emails/texts/hand written notes)/a interference with witnesses (third

parties) to cause a suppression of their testimony.

450. Defendant Oetken knew these elements and others because he has adjudicated many
cases since 2011 involving obstruction of justice charges, charges/convictions for which has

sentenced the perpetrators to jail.

151. Defendant Oetken knows the law and knows that he must obey the law.

152. Defendants Oetken swore oaths as a lawyer and as a jurist to uphold the Constitution and

the law.

1453. Defendant Oetken knew that in the perpetration of the bribery related quid pro quo
scheme he violated not only his oaths, but committed felonies against which he has no
immunity.

154. Defendant Oetken, while recognizing the immense risk of continuing to aid/abet the

bribery related qui po quo scheme, did resign himself to the fact that he really had no choice.

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155. Defendant Oetken’s recognition of his desperate situation has made it difficult for him to

concentrate on cases before him.

156. Defendant Oetken regrets having entered into conspiracy with The Kaul Cases Defendants,
but accepts that eventually he will be subjected to a form of discipline and or punishment for
having violated the Constitution/ the law/his solemn oaths/Plaintiff Kaul’s

human/civil/constitutional rights.

157. In fact, Defendant Oetken’s desperation was evidenced when he/agents used the US wires
to communicate with persons/entities invested in the company (www.wix.com) from which
Plaintiff Kaul issued a release on June 10, 2024, regarding K11-18 and Defendant Oetken’s

corrupt activities in the S.D.N.Y., to have Plaintiff Kaul’s account deactivated.

158. Defendant Oetken , in issuing a knowingly illegal ‘order’ on October 2, 2024, did recognize

that he was conflicted and without authority to issue such a document.

159. On October 3, 2024, Plaintiff Kaul submitted a letter in response to Defendant Oetken’s
October 2, 2024 ‘order’ (Exhibit 9), which identifies the factual/legal bases as to the invalidity of

the ‘order’.

2. COUNT TWO
DEPRIVATION OF RIGHTS UNDER COLOR OF LAW

DEFENDANTS: OETKEN/NDMB/AGC

160. In 2005, Plaintiff Kaul invented and successfully performed the first outpatient minimally
invasive spinal fusion, a case/technique that revolutionized the field of spine surgery and has

been for many years the standard of care.

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161. This event and the consequent success caused Plaintiff Kaul’s
physician/hospitals/insurance competitors in the minimally invasive spine surgery market to
view him, his outpatient surgical center, his technique, and his technique invention as a threat
to their market share, and not being able to compete fairly/legally, did resort to committing
judicial corruption/political corruption/public corruption/

bribery/perjury/evidential falsification/witness tampering/obstruction of justice/kickbacks/wire
fraud/mail fraud/false indictments/false arrests/false imprisonment/kidnapping/attempted

drugging-killing.

162. These events occurred over a time period from 2005 to 2023, in conjunction with
ongoing/accruing and daily recurring and “new” violations of Plaintiff Kaul’s

human/civil/constitutional rights.

163. In causing the 2012/2014 illegal suspension/revocation of Plaintiff Kaul’s NJ license, The
Kaul Cases Defendants committed a theft of Plaintiff Kaul’s intellectual property, from which

have been generated/continue to be generated hundreds of millions, if not billions of dollars.

164. The above facts, in conjunction with those contained within the factual corpus of The Kaul
Cases substantiate ongoing violations to a criminal standard of Plaintiff Kaul’s fundamental
right to life/liberty/property, his right to his hard-earned reputation and specifically, violations
of the following rights:

Violation of Civil Rights

Section 1983 claim

165. In a period from September 12, 2022, to the present, Defendant Oetken did abuse state
power in attempting to and in fact achieving in K11-10/K11-14 a knowing/willful/continuing

violation and deprivation of Plaintiff Kaul’s First Amendment Right of the United States

Constitution, CONSEQUENT TO the illegal purported ‘injunction’ violating Plaintiff Kaul’s right to

litigate his claims/vindicate his rights in the United States District Court.

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166. In a period from September 12, 2022, to the present, Defendant Oetken did abuse state
power in attempting to and in fact achieving in K11-10/K11-14 a knowing/willful/continuing

violation and deprivation of Plaintiff Kaul’s Second Amendment Right of the United States

Constitution, CONSEQUENT TO the illegal purported ‘injunction’ violating Plaintiff Kaul’s right to

litigate his claims/vindicate his rights in the United States District Court.

167. In a period from September 12, 2022, to the present, Defendant Oetken did abuse state
power in attempting to and in fact achieving in K11-10/K11-14 a knowing/willful/continuing
violation and deprivation of Plaintiff Kaul’s Fourth Amendment Right of the United States

Constitution, CONSEQUENT TO the illegal purported ‘injunction’ violating Plaintiff Kaul’s right to

litigate his claims/vindicate his rights in the United States District Court.

168. In a period from September 12, 2022, to the present, Defendant Oetken did abuse state
power in attempting to and in fact achieving in K11-10/K11-14 a knowing/willful/continuing

violation and deprivation of Plaintiff Kaul’s Fifth Amendment Right of the United States

Constitution, CONSEQUENT TO the illegal purported ‘injunction’ violating Plaintiff Kaul’s right to

litigate his claims/vindicate his rights in the United States District Court.

169. In a period from September 12, 2022, to the present, Defendant Oetken did abuse state
power in attempting to and in fact achieving in K11-10/K11-14 a knowing/willful/continuing

violation and deprivation of Plaintiff Kaul’s Sixth Amendment Right of the United States

Constitution, CONSEQUENT TO the illegal purported ‘injunction’ violating Plaintiff Kaul’s right to

litigate his claims/vindicate his rights in the United States District Court.

170. In a period from September 12, 2022, to the present, Defendant Oetken did abuse state
power in attempting to and in fact achieving in K11-10/K11-14 a knowing/willful/continuing
violation and deprivation of Plaintiff Kaul’s Eighth Amendment Right of the United States

Constitution, CONSEQUENT TO the illegal purported ‘injunction’ violating Plaintiff Kaul’s right to

litigate his claims/vindicate his rights in the United States District Court.

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171. In a period from September 12, 2022, to the present, Defendant Oetken did abuse state
power in attempting to and in fact achieving in K11-10/K11-14 a knowing/willful/continuing

violation and deprivation of Plaintiff Kaul’s Fourteenth Amendment Right of the United States

Constitution, CONSEQUENT TO the illegal purported ‘injunction’ violating Plaintiff Kaul’s right to

litigate his claims/vindicate his rights in the United States District Court.

172. These deprivations/violations willfully/maliciously caused by Defendant Oetken did

illegally deprive/continue to deprive Plaintiff Kaul of the property of his livelihood by preventing

its rectification through the judicial process.

173. These deprivations/violations willfully/maliciously caused by Defendant Oetken did

illegally deprive/continue to deprive Plaintiff Kaul of the property of all his business real estate

by preventing its rectification through the judicial process.

174. These deprivations/violations willfully/maliciously caused by Defendant Oetken did

illegally deprive/continue to deprive Plaintiff Kaul of the property of all his personal real estate

by preventing its rectification through the judicial process.

175. These deprivations/violations willfully/maliciously caused by Defendant Oetken did
illegally deprive/continue to deprive Plaintiff Kaul of the property of all his life earnings by

preventing its rectification through the judicial process.

176. These deprivations/violations willfully/maliciously caused by Defendant Oetken did
illegally deprive/continue to deprive Plaintiff Kaul of the property of all his pensions by

preventing its rectification through the judicial process.

177. These deprivations/violations willfully/maliciously caused by Defendant Oetken did

illegally deprive/continue to deprive Plaintiff Kaul of the property of all his financial investments

by preventing its rectification through the judicial process.

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178. These deprivations/violations willfully/maliciously caused by Defendant Oetken did

illegally deprive/continue to deprive Plaintiff Kaul of the property of all his professional licenses

by preventing its rectification through the judicial process.

179. These deprivations/violations willfully/maliciously caused by Defendant Oetken did

illegally deprive/continue to deprive Plaintiff Kaul of the property of all his accounts receivable

BY preventing its rectification through the judicial process.

180. These deprivations/violations willfully/maliciously caused by Defendant Oetken did
illegally deprive/continue to deprive Plaintiff Kaul of his right to due process BY preventing his

access to discovery and substantive litigation process.

181. These deprivations/violations willfully/maliciously caused by Defendant Oetken did
illegally deprive/continue to deprive Plaintiff Kaul of his right to free speech BY preventing his

access to discovery and substantive litigation process.

182. These deprivations/violations willfully/maliciously caused by Defendant Oetken did
illegally deprive/attempt to continue to deprive Plaintiff Kaul of his right to impartial

tribunals/judges/courts BY continuing to perpetrate through certain courts within the United

States District Court the corruptly procured K11-17 ‘Fraud on the Court’ ‘injunction’, which has

prevented Plaintiff Kaul’s access to discovery and substantive litigation process.

183. These deprivations/violations willfully/maliciously caused by Defendant Oetken did
illegally deprive/attempt to continue to deprive Plaintiff Kaul of his right to substantively

prosecute his claims BY continuing to perpetrate through certain courts within the United

States District Court the corruptly procured K11-17 ‘Fraud on the Court’ ‘injunction’, which has

prevented Plaintiff Kaul’s access to discovery and substantive litigation process.

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184. These deprivations/violations willfully/maliciously caused by Defendant Oetken did

illegally deprive/attempt to continue to deprive Plaintiff Kaul of his right to equal protection

under the law BY continuing to perpetrate through certain courts within the United States
District Court the corruptly procured K11-17 ‘Fraud on the Court’ ‘injunction’, which has

prevented Plaintiff Kaul’s access to discovery and substantive litigation process.

185. These deprivations/violations willfully/maliciously caused by Defendant Oetken did
illegally deprive/attempt to continue to deprive Plaintiff Kaul of his right to liberty BY
continuing to perpetrate through certain courts within the United States District Court the
corruptly procured K11-17 ‘Fraud on the Court’ ‘injunction’, which has prevented Plaintiff Kaul’s

access to discovery and substantive litigation process.

186. These deprivations/violations willfully/maliciously caused by Defendant Oetken did
illegally deprive/attempt to continue to deprive Plaintiff Kaul of his right to be compensated for

the illegal deprivation of the property of eleven (11) years of his life BY continuing to

perpetrate through certain courts within the United States District Court the corruptly procured
K11-17 ‘Fraud on the Court’ ‘injunction’, which has prevented Plaintiff Kaul’s access to

discovery and substantive litigation process.

187. These deprivations/violations/injuries were willfully/maliciously perpetrated by Defendant
Oetken within/through/with the assistance of the executive/judicial apparatus of the American

State.

188. These deprivations/violations/injuries were willfully/maliciously perpetrated by Defendant

Oetken within/through/with the assistance of the United States District Court.

189. These deprivations/violations/injuries were willfully/maliciously perpetrated by Defendant

Oetken in collusion/conspiracy with private actors associated with the New York Stock

Exchange.

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190. The commercial/communications nexus between Defendant Oetken and private actors
within The Kaul Cases, critical to the perpetration of the within pled schemes conferred ‘state
actor’ liability on ail private actors within The Kaul Cases as to the

deprivations/violations/injuries caused to Plaintiff Kaul’s human/civil/constitutional rights.

191, The commercial/communications nexus between Defendant Oetken and private actors
within The Kaul Cases, critical to the perpetration of the within pled schemes conferred ‘state
actor’ liability on all private actors within The Kaul Cases as to the

deprivations/violations/injuries caused to Plaintiff Kaul’s property rights.

192. Defendant Oetken and The Kaul Cases Defendants were and are motivated to commit and
continue to commit these deprivations/violations/injuries to Plaintiff Kaul’s

human/civil/constitutional/property rights.

193. The motivation is based on Defendant Oetken and The Kaul Cases Defendants scheme to

prevent Plaintiff Kaul from exposing their crimes, including those of defrauding the global

equities market.

UN Human Rights Violation

The United Nations Universal Declaration of Human Rights

194. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 1 of the United Nations Universal
Declaration of Human Rights: “All human beings are born free and equal in dignity and rights.
They are endowed with reason and conscience and should act towards one another ina spirit of

brotherhood.”

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195. The Article 1 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

196. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 2_ of the United Nations Universal
Declaration of Human Rights. Plaintiff Kaul is a citizen of India: “Everyone is entitled to all the
rights and freedoms set forth in this Declaration, without distinction of any kind, such as race,
color, sex, language, religion, political or other opinion, national or social origin, property, birth, or
other status. Furthermore, no distinction shall be made on the basis of the political, jurisdictional,
or international status of the country or territory to which a person belongs, whether it be
independent, trust, non-self-governing or under any other limitation of sovereignty.”

197. The Article 2 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

198. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 3 of the United Nations Universal

Declaration of Human Rights: “Everyone has the right to life, liberty and security of person.”

199. The Article 3 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

200. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 4 of the United Nations Universal
Declaration of Human Rights: “No one shall be held in slavery or servitude; slavery and the slave

trade shall be prohibited in all their forms.”

201. The Article 4 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

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203. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 5 of the United Nations Universal
Declaration of Human Rights: “No one shall be subjected to torture or to cruel, inhuman or

degrading treatment or punishment.”

204. The Article 5 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

205. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 6 of the United Nations Universal
Declaration of Human Rights: “Everyone has the right to recognition everywhere as a person

before the law.”

206. The Article 6 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

207. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 7 of the United Nations Universal
Declaration of Human Rights: “All are equal before the law and are entitled without any
discrimination to equal protection of the law. All are entitled to equal protection against any

discrimination in violation of this Declaration and against any incitement to such discrimination.”

208. The Article 7 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

209. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 8 of the United Nations Universal
Declaration of Human Rights: “Everyone has the right to an effective remedy by the competent
national tribunals for acts violating the fundamental rights granted him by the constitution or by

law.”

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210. The Article 8 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

211. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 9 of the United Nations Universal

Declaration of Human Rights: “No one shall be subjected to arbitrary arrest, detention or exile.”

212. The Article 9 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

213. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 10 of the United Nations Universal
Declaration of Human Rights: “Everyone is entitled in full equality to a fair and public hearing by
an independent and impartial tribunal, in the determination of his rights and obligations and of

any criminal charge against him.”

214. The Article 10 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

215. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 12 of the United Nations Universal
Declaration of Human Rights: “No one shall be subjected to arbitrary interference with his
privacy, family, home, or correspondence, nor to attacks upon his honor and reputation. Everyone

has the right to the protection of the law against such interference or attacks.”

216. The Article 12 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

217. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and

maliciously violate Plaintiff Kaul’s rights pursuant to Article 17 of the United Nations Universal

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Declaration of Human Rights: “1. Everyone has the right to own property alone as well as in

association with others. 2. No one shall be arbitrarily deprived of his property.”

218. The Article 17 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

219. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 19 of the United Nations Universal
Declaration of Human Rights: “Everyone has the right to freedom of opinion and expression; this
right includes freedom to hold opinions without interference and to seek, receive and impart

information and ideas through any media and regardless of frontiers.”

220. The Article 19 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

221. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 23 of the United Nations Universal
Declaration of Human Rights: “Everyone has the right to work, to free choice of employment,

to just and favorable conditions of work and to protection against unemployment.”

222. The Article 23 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

223. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 23 of the United Nations Universal
Declaration of Human Rights: “Everyone has the right to a standard of living adequate for the
health and well-being of himself and of his family, including food, clothing, housing and
medical care and necessary social services, and the right to security in the event of
unemployment, sickness, disability, widowhood, old age or other lack of livelihood in

circumstances beyond his control.”

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224. The Article 23 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

225. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 28 of the United Nations Universal
Declaration of Human Rights: “Everyone is entitled to a social and international order in which

the rights and freedoms set forth in this Declaration can be fully realized.”

226. The Article 28 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

227. Defendant Oetken and The Kaul Cases Defendants-Co-Conspirators did knowingly and
maliciously violate Plaintiff Kaul’s rights pursuant to Article 30 of the United Nations Universal
Declaration of Human Rights: “Nothing in this Declaration may be interpreted as implying for any
State, group or person any right to engage in any activity or to perform any act aimed at the

destruction of any of the rights and freedoms set forth herein.”

228. The Article 30 violation caused and continues to cause deprivations/violations/injuries to

Plaintiff Kaul’s human/constitutional/property rights.

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DECLARATIONS AND INJUNCTIVE RELIEF

1. The legal record in The Kaul Cases has established that the K11-7 September 22, 2022,
purported ‘injunction’ issued by U.S.D.J. Oetken in K11-7 is an admitted ‘Fraud on the Court’.

2. The United States District Court for the Southern District of Texas-Houston Division did nullify
the purported ‘injunction’ within its jurisdiction, when it admitted the case on August 26/30,

2024.

3. The United States District Court for the Southern District of Texas-Houston Division did
nullify the purported ‘injunction’ within its jurisdiction when it issued its March 13, 2024,

ORDER FOR DISCOVERY PLAN (Exhibit 5).

3. The nullification of the purported ‘injunction’ within the jurisdiction of the United States
District Court for the Southern District of Texas-Houston Division, has rendered the purported
‘injunction’ a legal nullity within the United States District Court without legal effect or

existence.

4. Therefore, the nullity and legal non-existence of the purported ‘injunction’ quite logically
means that Plaintiff Kaul could not have violated any purported ‘injunction within the
jurisdiction of the United States District Court for the Southern District of Texas-Houston
Division, and thus its legal non-existence means that Defendant Oetken’s proposed June 17,

2025 purported ‘contempt’ hearing is legally non-existent and null/void.
5. Therefore, the nullity and legal non-existence of the purported ‘injunction’ quite logically

means that Plaintiff Kaul’s continued prosecution of The Kaul Cases within any district court in

the United States District Court does not, nor could not, violate any non-existent injunction.

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6. Plaintiff Kaul’s human/civil/constitutional rights and the controlling doctrinal law of ‘Fraud on
the Court’ strictly prohibit Defendant Oetken from using the instrumentality of his purported
‘injunction’ in any manner to infringe on Plaintiff Kaul’s human, civil and or constitutional rights

to vindicate and or secure his right to his life/liberty/property/reputation.

7. Defendant Oetken is prohibited from attempting to use the purported ‘injunction’, an
admitted ‘Fraud on the Court, to cause injury or infringe on Plaintiff Kaul’s person and or violate

his human/civil/constitutional rights within the jurisdiction of the United States.

8. Defendant Oetken is ordered to cease and desist from any interference in the judicial process

of the United States District Court for the District of North Dakota.

9. Defendant Oetken’s published October 2, 2024 ‘ORDER’ in K11-20, a product of the K11-7
September 12, 2022 ‘Fraud on the Court’ purported injunction is itself a ‘Fraud on the Court’,

and is thus null/void for all intents/purposes.

10. Defendant Oetken’s nullified ‘Fraud on the Court’ October 2, 2024 ‘ORDER’ that was
generated and filed in K11-7 by Defendant Oetken, and then filed in K11-20 by the K11-20
Defendants on October 3, 2024 (Exhibit 10) constitutes a flagrant violation of Plaintiff Kaul’s
human/civil/constitutional rights to vindicate and or secure his right to his

life/liberty/property/reputation.

11. Defendant Oetken is ordered to strike from the K11-7 docket the illegally generated and
nullified ‘Fraud on the Court’ October 2, 2024 ‘ORDER’ and all documents related to the

September 12, 2022 purported ‘injunction’.
| swear under penalty of perjury that the above statements are true and accurate to the best of

my knowledge and that if it is proved that | willfully and knowingly misrepresented the facts,

then | will be subject to punishment.

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DATED: JUNE 13, 2025
N KAUL, MD

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